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13                               SOUTHERN DIVISION
14     JOHN C. EASTMAN                        Case No. 8:22-cv-00099-DOC-DFM
15
                  Plaintiff,
16
       vs.
17
18     BENNIE G. THOMPSON, et al.,

19                Defendants.
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21

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23
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25
                                     Exhibit U
26
27

28
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               Analysis of the Antrim County, Michigan
                  November 2020 Election Incident

                                J. Alex Halderman

                                  March 26, 2021
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           1     Overview

           On the night of the November 3, 2020, general election, Antrim County, Michigan
           published inaccurate unofficial results, attracting national attention (e.g., [29]).
           Totals in the presidential race and other contests were initially misreported by up
           to several thousand votes [3], and over the next three weeks, the county restated
           its results four times to correct this and other errors [4–7].
               Antrim’s presidential results have since been confirmed by examining the
           paper ballots in a county-wide hand count [21] and further affirmed by a state-
           wide risk-limiting audit [24]. Nevertheless, the incident in Antrim raises several
           questions: What caused the errors? Are they evidence of a cyberattack or other
           foul play? Have they been fully corrected? Could similar problems affect other
           localities? What should be done to prevent such issues in the future?
               The Michigan Secretary of State and the Department of Attorney General
           asked me to perform a forensic investigation of the incident in order to answer
           these questions. I analyzed data from Antrim County’s election management
           system (EMS) and from the memory cards used in the county’s ballot scanners.
           Using this data, I reconstructed the events that led to the initially erroneous
           results. I was able to precisely account for the discrepancies and identify the
           underlying causes. I also electronically recounted the votes using data from the
           memory cards to further check the accuracy of the final reported totals.


           1.1   Summary of Findings

           On the basis of my investigation, I draw several main findings and conclusions:

            – The explanations provided by the county [2] and the Department of State [23]
              are correct that the inaccurate unofficial results were a consequence of human
              errors, but the problems were somewhat more complicated than initially
              understood. The human errors that initiated the incident were compounded
              by gaps in election procedures and their adherence. The election software
              also could have done more to help election staff avoid making mistakes that
              could lead to erroneous results.
            – Although vulnerabilities in election technology are well documented (see,
              e.g., [11, 27]), the Antrim County incident was not caused by a security
              breach. There is also no credible evidence that it was caused deliberately.
              While this report is not a comprehensive security review of Antrim’s voting
              system, I note in passing some opportunities for security improvements.
            – The major discrepancies in Antrim’s results have been fully corrected. The
              final results match the poll tapes printed by the individual ballot scanners,
              and there is no evidence that the poll tapes are inaccurate, except for in
              specific precincts where particular circumstances I explain affected small
              numbers of votes, mainly in down-ballot races. These remaining errors affect
              too few votes to change the outcome of any contest but the Central Lake


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                 Village Marihuana1 Retailer Initiative, for which the final reported outcome
                 is potentially incorrect due to the omission of a single vote because of a
                 separate human error.
            – The incident in Antrim County arose due to the county’s mishandling of last-
              minute ballot design changes, a circumstance that is unlikely to have occurred
              widely in Michigan during the 2020 election. Nevertheless, in Antrim, several
              layers of protections that are supposed to ensure accuracy broke down due to
              human errors on multiple levels, including mistakes by county and township
              staff while operating the election technology, procedural missteps while
              processing ballots in some localities, and the failure of the county canvassers
              to detect lingering discrepancies. These failings suggest a need for greater
              oversight of county and local election administration in Michigan. I also
              recommend several changes to election technology, training, and procedures
              in order to better guard against similar problems in future elections.

           1.2      Summary of the Incident
           My analysis shows that the incident in Antrim County unfolded as follows:

            1. In October, Antrim changed three ballot designs to correct local contests
               after the initial designs had already been loaded onto the memory cards that
               configure the ballot scanners. For technical reasons, all memory cards should
               have been updated following the changes. Antrim used the new designs in its
               election management system and updated the memory cards for one affected
               township, but it did not update the memory cards for any other scanners.
            2. When the changes were made, a small number of voters had already received
               absentee ballots reflecting the initial designs. These voters were mailed revised
               ballots, but some of the initial ballots were voted. Protections ensured that at
               most one ballot was accepted from each voter, but there was no technical or
               procedural mechanism in place to distinguish between the different versions
               of the ballot designs.
            3. Local staff performed logic and accuracy testing to ensure that the scanners
               were working. However, testing was not repeated after the ballot design
               changes, except in the one township where the memory cards were updated.
               The county did not test loading scanner results into its election management
               system, which the state recommends but does not require.
            4. On election day, the scanners appear to have functioned normally for ballots
               that matched the ballot designs on their memory cards. However, they were
               not configured to handle the initial and revised ballot designs simultaneously,
               which caused inaccurate results in specific down-ballot contests in the three
               precincts where ballot designs had changed. In all other precincts, the results
               on the poll tapes from individual scanners were unaffected by this problem.

              1
                  This is the spelling used in the title of the initiative and in Michigan statutes.


                                                                                                       4
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            5. After polls closed, the county loaded results from the memory cards into its
               election management system for reporting. Three cards failed to load and
               were entered manually from the poll tapes. The other 15 cards appeared to
               load normally, but 13 had not been updated after the ballot design changes.
               Internally, the Dominion voting system uses a sequence of numbers to identify
               all available choices across all ballot designs. The scanners use these identifiers
               to record voter selections. The ballot design changes had the effect of altering
               the expected candidate identifiers in most of the county’s precincts. When
               memory cards that used the old identifiers were interpreted by the election
               management system using the new identifiers, votes were assigned to the
               wrong candidates, causing large errors in the initial reported results for most
               contests in all but a few precincts. The election management system did not
               alert the operator about this problem while loading the results.
            6. County staff, who finished generating the initial unofficial results at 4 a.m. on
               election night, apparently did not review them closely enough to detect the ob-
               vious discrepancies before publishing them. A few hours later, Antrim learned
               that the initial results were erroneous and took them down. Staff manually en-
               tered results from the poll tapes for the affected scanners, and the county pub-
               lished revised unofficial results on November 5. However, county staff neglected
               to remove some of the inaccurate data that had been loaded from the memory
               cards, so the reported totals in some precincts were the sum of the corrected
               and erroneous results. The county took down the results again to correct this.
            7. In one locality, Central Lake Village, the election day poll tape showed
               the wrong school board race, because, although the ballot design had been
               changed to include the correct race, the scanner’s configuration had not been
               updated to reflect this. On November 6, Central Lake rescanned its ballots
               using the updated configuration, and the results were incorporated into the
               county’s certified results published that day. However, the evidence I exam-
               ined suggests that three ballots from Central Lake Village that were scanned
               on election day were not rescanned—potentially due to human error—and
               are not included in the final results. One of these ballots, if it is actually
               valid, would likely change the outcome of the Central Lake Village Marihuana
               Retailer Initiative, which was decided by a single vote.
            8. Antrim’s November 6 certified results contained data entry errors that oc-
               curred when results were entered manually to correct the initial reporting
               problem. These errors should have been detected during the county canvass
               but were not. The county restated its results on November 16 to correct some
               of the data entry errors and again on November 21 to correct the reminder.
            9. The final certified results match the scanner poll tapes in essentially all
               cases. However, my analysis shows that both the poll tapes and the final
               results are inaccurate with respect to a few down-ballot contests in the three
               precincts where ballot designs changed, as a result of the county’s failure to
               appropriately distinguish between ballots voted using the old and new ballot
               designs. The largest discrepancy is in Central Lake Village, where the poll


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                 tape is inaccurate for the Central Lake Schools school board contest and
                 State Proposal 20-1. I estimate that approximately 72 ballots are affected.
                 Small numbers of votes may also have been affected in Mancelona Village for
                 the Village Trustee race and in Warner Township for the Boyne Falls Public
                 Schools Sinking Fund Millage Proposal. The circumstances that caused these
                 discrepancies did not affect any other contests and do not affect enough votes
                 to change the outcome of any contest.
           10. In December, the state conducted a county-wide hand count of the presi-
               dential contest that agreed with the final reported results to within 0.08%.
               In January, the state conducted a state-wide risk-limiting audit of the pres-
               idential contest that affirmed the reported outcome. These findings and my
               analysis all support the conclusion that there are no significant errors in
               Antrim County’s final presidential results.


           1.3     Organization of this Report
           In Section 2, I describe Antrim County’s voting system and the data from it
           that I examined. In Section 3, I investigate and explain the discrepancies that
           occurred during county-level reporting. In Section 4, I investigate and explain the
           discrepancies that occurred on poll tapes from individual scanners. In Section 5, I
           respond to the report prepared by Allied Security Operations Group. In Section 6,
           I state additional conclusions, and in Section 7, I offer a series of recommendations
           for preventing similar problems in future elections. My own qualifications and
           background are stated in Appendix A.




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           2       Background

           2.1     Antrim County’s Election Technology

           In 2017 and 2018, Michigan deployed new voting equipment [30]. County and
           local clerks selected from among three approved systems produced by different
           vendors. Antrim County adopted the Democracy Suite system produced by
           Dominion Voting Systems, consisting of ImageCast Precinct (ICP) ballot scanners,
           ImageCast X (ICX) ballot-marking devices (BMDs),2 and the Democracy Suite
           election management system (EMS). As deployed in Antrim, the EMS consists
           of a single desktop PC running specialized software for election preparation and
           results aggregation and reporting. Antrim uses Democracy Suite version 5.5,
           which is federally certified by the U.S. Election Assistance Commission [31].
               During a typical election, Antrim’s equipment operates as follows:

            1. Election preparation. Before the election, workers design the ballots using
               Election Event Designer (EED), one of several modular components of the
               EMS software [8]. They create an “election project” (a database corresponding
               to the election) and define the contests and choices for each precinct. EED
               then generates ballot designs for printing and election definition files (digital
               descriptions of the ballot designs) for use by the scanners and BMDs.3
                 Like most Michigan counties, Antrim outsources these steps to a service
                 provider, in this case Grand Rapids-based ElectionSource. ElectionSource
                 sends the county an “election package”—a file containing the election project,
                 ballot designs, election definitions, and other associated data. The county
                 imports these into its EMS and loads the election definitions onto memory
                 cards used by the scanners and USB sticks used with the BMDs [8].
                 Finally, townships load the memory cards into their scanners and perform logic
                 and accuracy (L&A) testing. In this process, workers scan ballots with known
                 selections and confirm that the scanners produce accurate results [13, 19].
            2. Voting and counting. Vote counting begins on election day. In-person voters
               insert their ballots into the scanners, which tabulate the selections and retain
               the physical ballots in a ballot box. To process absentee ballots, most localities
               have poll workers feed them into the same scanners used for in-person voting.
               Other localities operate separate absent voter counting boards (“AV boards”
               or “AVCBs”) with dedicated scanners [15].
                 The scanners count votes by detecting marks in particular ballot locations
                 called “voting targets”, which are specified by the election definition on the
               2
                 In Michigan, most voters mark ballots by hand, but each poll place also provides
            one or more touch-screen BMDs that voters may use to mark and print their ballots.
            Michigan election procedures refer to the BMDs as “voter-assist terminals” or VATs.
               3
                 Although Michigan election procedures sometime refer to election definitions as
           “programming” or “programs” [13, 14], in the Dominion system they are not computer
            programs in the sense of “software” but rather collections of data files. It is incorrect to
            characterize changing the election definition as a “software update.”


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                 scanner’s memory card. If the area within a voting target is darker than a
                 set threshold, the scanner treats the target as marked. For each ballot, the
                 scanner records which voting targets were marked on its memory card.4
                 After all ballots have been scanned, the scanner prints a “poll tape,” a paper
                 record showing the number of votes recorded for each choice. Poll workers
                 sign the poll tape and return it, along with the the scanner memory card,
                 to the county [14]. The paper ballots are retained by the locality.
            3. Reporting. County workers use the EMS to aggregate results. An EMS appli-
               cation called Results Tally & Reporting (RTR) [9] loads vote data from the
               scanner memory cards and stores it in the election project database. Workers
               then use RTR to generate a report containing results from the entire county.
               Antrim publishes these result reports on its county website.
            4. Post-election verification. Several post-election activities involve checks of
               the accuracy of results. Before the Board of County Canvassers certifies the
               results, it is supposed to compare the reported totals from the EMS to the
               poll tape from each scanner [17]. The paper ballots and other records are
               required to be securely retained, and candidates can petition for a hand
               recount [16]. In addition, the state audits some selected precincts to verify
               procedural compliance and accuracy [18]. The state also recently began con-
               ducting risk-limiting audits, in which randomly sampled ballots are inspected
               to confirm the accuracy of the reported outcome for particular contests [22].

           2.2     The November 2020 Election in Antrim County
           For the November 2020 election, Antrim used 18 scanners. Most of the 15
           townships operated a single scanner, but Mancelona Township used two, and an
           additional two scanners were used for AV counting boards in Elk Rapids and
           Milton townships. Within each township, there were up to four ballot designs (for
           residents of villages versus unincorporated areas, or for voters within different
           school districts), for a total of 43 ballot designs. According to the final results,
           16,044 votes were cast from among 22,082 registered voters, a turnout of 73%.
               The county posted five sets of election results, dated November 4, 5, 6,
           16, and 21 [3–7]. Each had widespread differences from the one before, and in
           some instances candidates gained or lost more than 5000 votes. The results and
           differences for the first four contests are summarized in Table 1.

           2.3     Materials Examined for this Report
           I examined a forensic image of the hard drive from Antrim County’s EMS. The
           image was provided by the Department of Attorney General; it appears to be the
           image described in §F and §G of the Allied Security Operations Group (ASOG)
           report [1], which says ASOG collected it on December 6. I also examined forensic
              4
                The ICP scanners can also store a digital image of each ballot, but this is an
           optional feature that was not enabled in Antrim County during the November election.


                                                                                             8
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                                       Results published on:                Difference:
                                     11/4 11/5 11/6 11/16 11/21
                                                                     b−a     c−b    d−c       e−d
                                      (a)  (b)  (c)   (d)   (e)
            President   Biden       7769 7289 5960 5960 5960         −480 −1329           0      0
                        Trump       4509 9783 9748 9748 9748         5274  −35            0      0
                        Jorgensen     93 197 189 189 189              104   −8            0      0
                        Blankenship   20   22   16   16   16            2   −6            0      0
                        De La Fuente 12     8    8    8    8          −4      0           0      0
                        Hawkins       20   28   28   28   28            8     0           0      0
            U.S. Sen.   Peters       7863 6807 5441 5758 5758       −1056 −1366       317       0
                        Squier         47   81   79   83   86          34   −2          4       3
                        James        4484 9345 9340 9924 9924        4861   −5        584       0
                        Willis         91 960    81   82   82         869 −879          1       0
                        Dern           19   26   26   27   27           7     0         1       0
            U.S. Rep.   Ferguson     7745 6603 5235 5235 5235       −1142 −1368           0      0
                        Bergman      4794 10344 10292 10292 10292    5550  −52            0      0
                        Boren         125 266 263 263 263             141   −3            0      0
            State Rep. Burke         7697 6143 4800 4800 5578       −1554 −1343           0    778
                       Borton        4529 8772 8761 8761 9936        4243  −11            0   1175

            Table 1: Election Results. Antrim published five results reports, two labeled
            unofficial (a, b) and three labeled official (c, d, e). Results and differences for
            the first five contests are shown here, but many others were also in error. The
            initial report (a) was badly incorrect due to the election definition mismatch.
            The second report (b) added results entered by hand from poll tapes but failed
            to remove all of the bad data. The third (c) fixed this, but the manual inputs
            contained data entry errors that were corrected in two subsequent reports (d, e).



            images of the 18 compact flash memory cards used in Antrim’s ICP scanners.
            At my request, Michigan Bureau of Elections personnel inserted each card into
            a Digital Intelligence USB 3.0 Forensic Card Reader (in write-blocking mode,
            to ensure the cards were not inadvertently modified) and used the AccessData
            FTK Imager application to make a complete copy of the data. Table 2 lists the
            hashes of these data sources.
                Several kinds of data were relevant for my analysis. I will describe others later,
            but one of the most important was the EMS database. Democracy Suite uses
            the Microsoft SQL Server database engine, and data for each election project is
            maintained in a separate database. I extracted the database corresponding to the
            November 2020 election, which is stored in the files /Databases/Antrim November
            2020-2020-08-03-12-38-25.mdf and .ldf. I analyzed it using Microsoft SQL Server
            Management Studio and purpose-built software that I wrote in Python.
                In reconstructing the sequence of events, I made repeated use of log files
            stored in the EMS and memory cards. The election database records the actions
            that users perform on the election project in a table named UserLog. These log


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            Description   SHA-256 Hash of Forensic Image
            Computer hard drive:
            County EMS 1d0d7248a0d1db99051a164766a08c895f67f358a58046102e06c20ad4785d81
            Ballot scanner memory cards:
            Banks          784ccc460346ba85554c4798f9a1711cd73c860eaea58fa458ac241b049d2510
            Central Lake 5bd0798b4a21edd390bee784519764fccc4369bdda6dbe1cafbdf28c11a098bd
            Chestonia      48a55e328dcf1816b42a0163a334bb4cf35fa964f1c5460ebc7a4b3fe1a2a474
            Custer         1cc9a044a69567a7a38f45892b91c32a4acf631699ad1b4d9d9fbfe72e28e433
            Echo           371eb895e922cd2d36cf1859c1d84df01e6fd9176132ec86c889930a20c1a8f8
            Elk Rapids 1 ad69dfcadf17b5bb3a744417daae2251aca0f19ccf34af7b5e732a688a4f68f5
            Elk Rapids AV 3d4ffc1d8f3ef2b336e5934f0ab98048ad0e24c96efd027f539c68239f6cdbac
            Forest Home a93c1021367b93ebc89957b5d0c5df6828c885877b2640bf4495441bbe7df474
            Helena         529bc91c0d012ef4df947898d8fbde3e0d1c5f430e374080c2e52fb29d02e565
            Jordan         c2fc4e0e50ca56d55cfa9b2111b120f319be602e357dd09fa12c14203297f3d7
            Kearney        2cd3fccb9640738fb062da32d3bb1ea1e4bbafc2e97ca70d87863d12cc8fd38c
            Mancelona 1 35f7d069f5556ea9aed3727a0433819b6940cb3474579cf969d2cc208324fbae
            Mancelona 2 8931572f6aaeff7c7f80000ca6958da172660b9e3e8d40c073c48008593aa572
            Milton 1       386390a3edfa366bb12c8263825d96b51d63a9a4711685edbd7c63fe38e2ba4a
            Milton AV      255e1e27daadadbfc7ecc64d1a2c9a8e4f9cf7c65c21e9f18a2ff615dc041d09
            Star           9aed3328e89ac4a98ac8ff8877a99b400f092f04a71b738b3e56579384a60379
            Torch Lake     60bf46c9fb769fa6a2d238bb1d34387c0854594c9b83c72723ff306dd6abd775
            Warner         8132a7e3bf7ac839152d7c6f6f68e9d1316911039241a49f23489a1c2d8e1801

            Table 2: Data Sources. These are the hashes of the forensic images I examined.
            The data was collected from the EMS hard drive and 18 scanner memory cards.



            entries extended back to the creation of the election project. Each memory card
            also contains a detailed log of events that occurred on the scanner, in a file named
            slog.txt. These logs extend back to time that each card was initialized, and the
            EMS stores a copy in the election database when each card is loaded.
                I further analyzed the EMS by booting a copy of the hard drive in a virtual
            machine and interacting with the software. Notably, I was able to do so without
            Antrim County providing any passwords. The EMS runs Windows 10, and I
            circumvented the Windows account passwords using a well-known technique [28].
            Microsoft SQL Server Management Studio was already installed on the system,
            and I found that I could use it to view and edit the election databases with
            no additional passwords. Within the D-Suite application software, each election
            project is individually password protected. However, I circumvented this by
            creating a new project with a known password, extracting the password hash
            from the project’s database, and copying it into the databases for the other
            projects. Performing similar steps on the real EMS would require physical access
            to the computer or the hard drive, and I have been informed that Antrim County
            applies physical controls to limit such access to authorized personnel.




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                                  #:5534




            3     Discrepancies in County-Level Reporting

            The first part of my investigation concerns errors that were introduced in the
            course of aggregating and reporting results from precincts across the county,
            including the major discrepancies in the initial results posted on November 4.
            I reconstruct the events that led to the errors, explain their causes, and verify
            that they have been corrected. My analysis confirms that the final reported
            results match the results obtained by the individual scanners.


            3.1   Preparations for the Election

            The sequence of events that led to the reporting discrepancies began long before
            the election, during the process of designing the ballots. According to a timeline
            produced by Antrim County [2], the county received initial proofs of the ballot
            designs from ElectionSource on September 5. After a series of corrections, county
            staff approved the designs on September 18 and received a flash drive from
            ElectionSource containing the election package on September 29. County staff
            loaded the election package into the EMS, copied the election definition files
            for the scanners and BMDs to removable media, and distributed the media to
            localities for use in the election. The memory card logs show that townships
            loaded the media into their scanners and BMDs and performed logic-and-accuracy
            testing on various dates in October.
                Typically, the ballot designs and election definitions would have remained
            unchanged from this point on. However, according to Antrim’s timeline, on
            October 5 and 7, the county alerted ElectionSource about errors that had been
            identified in three of the ballot designs, which affected parts of Central Lake,
            Mancelona, and Warner townships. ElectionSource applied the corrections and
            provided a revised election package on October 23. The election project log shows
            that Antrim loaded the revised election package into its EMS that day.
                At this point, county staff should have updated the removable media for every
            scanner and BMD in the county to ensure that their election definitions matched
            the EMS’s. In fact, the only scanners that were updated before election day were
            the two in Mancelona Township. This would prove to be a consequential mistake.
            Election Packages By inspecting the EMS image, I identified an election
            package file with metadata indicating that it was created and last accessed
            on September 29. The file is located at /Users/EMSADMIN/Desktop/Project
            Package/Project Package/Antrim November 2020-2020-08-03-12-38-25 package.zip.
            It appears to be a backup of the first election package provided by ElectionSource
            on September 29. I will refer to this file as the initial election package.
                I also identified an election package file with metadata indicating that it was
            created and last accessed on October 23. It is located at /Users/EMSADMIN/
            Desktop/Project Package/Antrim November 2020-2020-08-03-12-38-25 package.zip.
            It appears to be a backup of the second election package provided by Election-
            Source. I will refer to this file as the revised election package.



                                                                                            11
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                      Township                          Intermediate School District                                      State                                        Township                          Intermediate School District                                         State
                         Clerk

                                  #:5535
                 Vote for not more than 1

                              Judy Kosloski
                                     Republican
                                                                 Board Member
                                                        Charlevoix-Emmet Intermediate
                                                                 School District
                                                        Partial Term Ending 12/31/2024
                                                               Vote for not more than 1
                                                                                                                   Proposal 20-2
                                                                                                      A proposed constitutional amendment
                                                                                                      to require a search warrant in order to
                                                                                                       access a person’s electronic data or
                                                                                                            electronic communications
                                                                                                                                                                          Clerk
                                                                                                                                                                  Vote for not more than 1

                                                                                                                                                                               Judy Kosloski
                                                                                                                                                                                      Republican
                                                                                                                                                                                                                  Board Member
                                                                                                                                                                                                         Charlevoix-Emmet Intermediate
                                                                                                                                                                                                                  School District
                                                                                                                                                                                                         Partial Term Ending 12/31/2024
                                                                                                                                                                                                                 Vote for not more than 1
                                                                                                                                                                                                                                                                     Proposal 20-2
                                                                                                                                                                                                                                                        A proposed constitutional amendment
                                                                                                                                                                                                                                                        to require a search warrant in order to
                                                                                                                                                                                                                                                         access a person’s electronic data or
                                                                                                                                                                                                                                                              electronic communications


                                                                                Larry Cassidy         This proposed constitutional amendment would:                                                                             Larry Cassidy           This proposed constitutional amendment would:
                       Treasurer                                                                                                                                        Treasurer
                 Vote for not more than 1                                                             ·   Prohibit unreasonable searches or                       Vote for not more than 1                                                              ·     Prohibit unreasonable searches or
                                                                                                          seizures of a person’s electronic data and                                                                                                          seizures of a person’s electronic data and
                              Andrew Smith                                                                electronic communications.                                           Andrew Smith                                                                   electronic communications.
                                     Republican                  Board Member                         ·   Require a search warrant to access a                                        Republican                  Board Member                          ·     Require a search warrant to access a
                                                        Charlevoix-Emmet Intermediate                     person’s electronic data or electronic                                                         Charlevoix-Emmet Intermediate                        person’s electronic data or electronic
                                                                 School District                          communications, under the same                                                                          School District                             communications, under the same
                                                        Partial Term Ending 12/31/2022                    conditions currently required for the                                                          Partial Term Ending 12/31/2022                       conditions currently required for the
                        Trustee                                                                           government to obtain a search warrant to                       Trustee                                                                              government to obtain a search warrant to
                 Vote for not more than 2                      Vote for not more than 1                                                                           Vote for not more than 2                       Vote for not more than 1
                                                                                                          search a person’s house or seize a                                                                                                                  search a person’s house or seize a
                                                                                                          person’s things.                                                                                                                                    person’s things.
                             Patrick Hanlon                                                                                                                                   Patrick Hanlon
                                     Republican                                                       Should this proposal be adopted?                                                Republican                                                        Should this proposal be adopted?
                                Pat Marshall                                                                                                                                     Pat Marshall
                                     Republican                            Village                                                                                                    Republican                            Village
                                                                    President                                                                Yes                                                                     President                                                                   Yes
                                                             Village of Central Lake                                                          No                                                              Village of Central Lake                                                             No
                                                               Vote for not more than 1                                                                                                                          Vote for not more than 1
               Nonpartisan Section                                                                                       Village                                Nonpartisan Section                                                                                          Village
                       Judicial                                                      Rob Tyler          A Proposed Initiated Ordinance to                               Judicial                                                      Rob Tyler           A Proposed Initiated Ordinance to
                                                                                                       Authorize One (1) Marihuana Retailer                                                                                                              Authorize One (1) Marihuana Retailer
              Justice of Supreme Court                                                                  Establishment Within the Village of                    Justice of Supreme Court                                                                   Establishment Within the Village of
                 Vote for not more than 2                                                                         Central Lake                                    Vote for not more than 2                                                                          Central Lake
                                                                     Trustee                                                                                                                                          Trustee
                                   Mary Kelly                Village of Central Lake                  This ordinance would:                                                         Mary Kelly                Village of Central Lake                   This ordinance would:
                                                               Vote for not more than 3                                                                                                                          Vote for not more than 3
                  Bridget Mary McCormack                                                              ·   Authorize one (1) marihuana retailer                     Bridget Mary McCormack                                                               ·     Authorize one (1) marihuana retailer
                        Justice of Supreme Court                                                          establishment within the Village of Central                    Justice of Supreme Court                                                             establishment within the Village of Central
                          Kerry Lee Morgan                                       Bill Chapman             Lake                                                             Kerry Lee Morgan                                      Bill Chapman                 Lake

                    Katherine Mary Nepton                                   John Michael Ring         ·   Require a person to obtain a permit from                   Katherine Mary Nepton                                  John Michael Ring           ·     Require a person to obtain a permit from
                                                                                                          the Village before operating the                                                                                                                    the Village before operating the
                             Brock Swartzle                                                               marihuana retailer establishment within                             Brock Swartzle                                                                  marihuana retailer establishment within
                                                                                                          the Village. The permit would be valid for                                                                                                          the Village. The permit would be valid for
                         Elizabeth M. Welch                                                               one calendar (1) year and subject to                            Elizabeth M. Welch                                                                  one calendar (1) year and subject to
                                                                                                          renewal annually. The permit must be                                                                                                                renewal annually. The permit must be
                          Susan L. Hubbard                                                                displayed in a conspicuous location in the                       Susan L. Hubbard                                                                   displayed in a conspicuous location in the
                                                                                                          building.                                                                                                                                           building.
                                                            Local School District                                                                                                                            Local School District
                                                                                                      ·   Require, if more than one application is                                                                                                      ·     Require, if more than one application is
                                                                                                          submitted for the marihuana retail                                                                                                                  submitted for the marihuana retail
                                                                  Board Member                                                                                                                                    Board Member
                                                                                                          establishment, that the Village Council                                                                                                             establishment, that the Village Council
                                                                Ellsworth Schools                         rank the applications based on the criteria                                                          Central Lake Schools                           rank the applications based on the criteria
              Judge of Court of Appeals                        Vote for not more than 2                                                                        Judge of Court of Appeals                         Vote for not more than 3
                                                                                                          specified in the ordinance.                                                                                                                         specified in the ordinance.
                     4th District                                                                                                                                     4th District
                 Incumbent Position                                                                   ·   Require that marihuana retail                           Incumbent Position                                                                    ·     Require that marihuana retail
                 Vote for not more than 2                          Mark Edward Groenink                   establishment be located in the                         Vote for not more than 2                                   Melanie Eckhardt                 establishment be located in the
                                                                                                          appropriate zoning district by amendment                                                                                                            appropriate zoning district by amendment
                            Michael J. Kelly                               Christopher Wallace                                                                               Michael J. Kelly                                    Keith Shafer
                       Judge of Court of Appeals                                                          of the Village of Central Lake Zoning                         Judge of Court of Appeals                                                             of the Village of Central Lake Zoning
                     Amy Ronayne Krause                                                                   Ordinance.                                                  Amy Ronayne Krause                                                                      Ordinance.
                       Judge of Court of Appeals                                                                                                                        Judge of Court of Appeals
                                                                                                      ·   Allow an issued permit from the Village to                                                                                                    ·     Allow an issued permit from the Village to
                                                                                                          be transferred to another location within                                                                                                           be transferred to another location within
                                                                                                          the Village and to a different individual or                                                                                                        the Village and to a different individual or
                                                               Proposal Section                           entity upon written approval from the                                                                                                               entity upon written approval from the
                                                                                                          Village Clerk and the state, provided the                                                                                                           Village Clerk and the state, provided the
              Judge of Court of Appeals                                     State                         different location is within an allowed              Judge of Court of Appeals                        Proposal Section                              different location is within an allowed
                     4th District                                                                         zoning district and the different individual                4th District                                                                            zoning district and the different individual
                                                                  Proposal 20-1                           or entity complies with the requirements of                                                                       State                             or entity complies with the requirements of
               Non-Incumbent Position                A proposed constitutional amendment                  the ordinance.
                                                                                                                                                                Non-Incumbent Position                                                                        the ordinance.
                 Vote for not more than 1                                                                                                                         Vote for not more than 1                         Proposal 20-1
                                                    to allow money from oil and gas mining
                                                    on state-owned lands to continue to be ·              Impose a fee to help defray administrative                                                  A proposed constitutional amendment ·                   Impose a fee to help defray administrative
                               Michelle Rick                                                              and enforcement costs for the initial permit                          Michelle Rick        to allow money from oil and gas mining                   and enforcement costs for the initial permit
                                                        collected in state funds for land
                                                                                                          and each renewal permit, but not to                                                        on state-owned lands to continue to be                   and each renewal permit, but not to
                                                           protection and creation and                    exceed $5,000 each.                                                                                                                                 exceed $5,000 each.
                                                    maintenance of parks, nature areas, and                                                                                                              collected in state funds for land
                                                       public recreation facilities; and to                                                                                                                 protection and creation and
                Judge of Circuit Court                                                      ·             Allow revocation or suspension of an                   Judge of Circuit Court                                                      ·                Allow revocation or suspension of an
                                                      describe how money in those state                   issued permit by the Village Clerk for any                                                 maintenance of parks, nature areas, and                  issued permit by the Village Clerk for any
                     13th Circuit                                                                                                                                     13th Circuit
                                                               funds can be spent                         violation of the ordinance, after written                                                     public recreation facilities; and to                  violation of the ordinance, after written
                 Incumbent Position                                                                                                                               Incumbent Position                   describe how money in those state
                                                                                                          notice and public hearing.                                                                                                                          notice and public hearing.
                 Vote for not more than 1                                                                                                                         Vote for not more than 1
                                                                                                                                                                                                                funds can be spent
                      Kevin A. Elsenheimer          This proposed constitutional amendment would: ·       Make a violation of the ordinance a                          Kevin A. Elsenheimer                                                             ·     Make a violation of the ordinance a
                           Judge of Circuit Court                                                         municipal civil infraction, subject to a fine                     Judge of Circuit Court                                                            municipal civil infraction, subject to a fine
                                                    ·    Allow the State Parks Endowment Fund to          of not more than $500.                                                                     This proposed constitutional amendment would:            of not more than $500.
                                                         continue receiving money from sales of oil
                                                         and gas from state-owned lands to                  Should this ordinance be enacted?                                                        ·    Allow the State Parks Endowment Fund to              Should this ordinance be enacted?
           Intermediate School District                  improve, maintain and purchase land for
                                                                                                                                                            Intermediate School District                  continue receiving money from sales of oil
                   Township                                  Local School District
                                                         State parks, and for Fund administration,
                                                                                                                                                                    Township                                  Local School District
                                                                                                                                                                                                          and gas from state-owned lands to
                   Board Member                                                                                                              Yes                    Board Member                                                                                                                 Yes
                                                         until its balance reaches $800,000,000.                                                                                                          improve, maintain and purchase land for
                          Clerk Intermediate
           Charlevoix-Emmet                                       Board Member                                                                No
                                                                                                                                                                           Clerk Intermediate
                                                                                                                                                            Charlevoix-Emmet                              State parks,Board   Member
                                                                                                                                                                                                                         and for Fund administration,                                             No
                 Vote for not more
                   School          than 1
                              District              ·          Mancelona
                                                         Require               Schools
                                                                  subsequent oil  and gas revenue                                                                 Vote for not more
                                                                                                                                                                    School          than 1
                                                                                                                                                                               District                   until itsMancelona      Schools
                                                                                                                                                                                                                    balance reaches   $800,000,000.
                     6 Year Term                         from state-owned
                                                                Vote for notlands
                                                                             moretothan
                                                                                     go into
                                                                                        3 the                                                                         6 Year Term                                  Vote for not more than 3
                               Michael Biehl             Natural Resources Trust Fund.                                                                                          Michael Biehl        ·    Require subsequent oil and gas revenue
                 Vote for not more than 3
                                     Republican
                                                                                                                                                                  Vote for not more than 3
                                                                                                                                                                                      Republican          from state-owned lands to go into the
                                                    ·    Require at least 20% of Endowment Fund                                                                                                           Natural ResourcesKim  TrustMusselman
                                                                                                                                                                                                                                      Fund.
                                                                           Kim Musselman
                          Thelma A. Chellis              annual spending go toward State park                                                                              Thelma A. Chellis
                                                         improvement.                                                                                                                                ·    Require at least 20% of Endowment Fund
                       Treasurer                                                  Tom Ross                                                                              Treasurer                                                  Tom Ross
                            Jean E. Frentz                                                                                                                                   Jean E. Frentz               annual spending go toward State park
                 Vote for not more than 1           ·    Require at least 25% of Trust Fund annual                                                                Vote for not more than 1                improvement.
                                                                            Burt Thompson                                                                                                                                    Burt Thompson
                              Mary P. Jason              spending go toward parks and public                                                                                   Mary P. Jason
                              Jessie Ayoub               recreation areas and at least 25% toward                                                                              Jessie Ayoub          ·    Require at least 25% of Trust Fund annual
                                     Republican          land conservation.                                                                                                           Republican          spending go toward parks and public
                                                                                                                                                                                                          recreation areas and at least 25% toward
                                                    Should this proposal be adopted?                                                                                                                      land conservation.

                        Trustee                                                           Yes
                                                                                                                                                                         Trustee                     Should this proposal be adopted?
                 Vote for not more than 2                                                                                                                         Vote for not more than 2
                                                               Proposal Section                                                                                                                                 Proposal Section
                                                                                           No                                                                                                                                               Yes
                           Yousef M. Jabara                                                                                                                                 Yousef M. Jabara
                                       Democrat                             State                                                                                                       Democrat                            State
                                                                                                                                                                                                                                            No
                                   Rod Vesey                                                                                                                                        Rod Vesey
                                     Republican                   Proposal 20-1                                                                                                       Republican                   Proposal 20-1
                       Donna Gundle-Krieg            A proposed constitutional amendment                                                                                Donna Gundle-Krieg            A proposed constitutional amendment
                                      Libertarian   to allow money from oil and gas mining                                                                                             Libertarian   to allow money from oil and gas mining
                                                    on state-owned lands to continue to be                                                                                                           on state-owned lands to continue to be
                                                                            VOTE  for BOTH  FRONT AND BACK OF BALLOT                                                                                                         VOTE  for BOTH  FRONT AND BACK OF BALLOT
                                                                    1107




                                                                                                                                                                                                                     1107
                                                        collected in state funds      land                                                                                                               collected in state funds      land
                                                           protection and creation and                                                                                                                      protection and creation and
                                                    maintenance of parks, nature areas, and                                                                                                          maintenance of parks, nature areas, and
                      Constable                        public recreation facilities; and to                                                                            Constable                        public recreation facilities; and to
                 Vote for not more than 1             describe how money in those state                                                                           Vote for not more than 1             describe how money in those state
                                                               funds can be spent                                                                                                                               funds can be spent
                         Linden M. Bielecki                                                                                                                               Linden M. Bielecki
                                     Republican                                                                                                                                       Republican
                                                    This proposed constitutional amendment would:                                                                                                    This proposed constitutional amendment would:

                                                    ·    Allow the State Parks Endowment Fund to                                                                                                     ·    Allow the State Parks Endowment Fund to
               Nonpartisan Section
                       Judicial
              Justice of Supreme Court
                                                         continue receiving money from sales of oil
                                                         and gas from state-owned lands to
                                                         improve, maintain and purchase land for
                                                         State parks, and for Fund administration,
                                                         until its balance reaches $800,000,000.
                                                                                                                                                          (a) Central Lake, Precinct 1V
                                                                                                                                                                Nonpartisan Section
                                                                                                                                                                        Judicial
                                                                                                                                                               Justice of Supreme Court
                                                                                                                                                                                                          continue receiving money from sales of oil
                                                                                                                                                                                                          and gas from state-owned lands to
                                                                                                                                                                                                          improve, maintain and purchase land for
                                                                                                                                                                                                          State parks, and for Fund administration,
                                                                                                                                                                                                          until its balance reaches $800,000,000.
                 Vote for not more than 2                                                                                                                         Vote for not more than 2
                                                    ·    Require subsequent oil and gas revenue                                                                                                      ·    Require subsequent oil and gas revenue
                          Kerry Lee Morgan               from state-owned lands to go into the                                                                             Kerry Lee Morgan               from state-owned lands to go into the
                                                         Natural Resources Trust Fund.                                                                                                                    Natural Resources Trust Fund.
                    Katherine Mary Nepton                                                                                                                            Katherine Mary Nepton
                                                    ·    Require at least 20% of Endowment Fund                                                                                                      ·    Require at least 20% of Endowment Fund
                             Brock Swartzle              annual spending go toward State park                                                                                 Brock Swartzle              annual spending go toward State park
                                                         improvement.                                                                                                                                     improvement.
                         Elizabeth M. Welch                                                                                                                               Elizabeth M. Welch
                                                    ·    Require at least 25% of Trust Fund annual                                                                                                   ·    Require at least 25% of Trust Fund annual
                          Susan L. Hubbard               spending go toward parks and public                                                                               Susan L. Hubbard               spending go toward parks and public
                                                         recreation areas and at least 25% toward                                                                                                         recreation areas and at least 25% toward
                                   Mary Kelly            land conservation.                                                                                                         Mary Kelly            land conservation.

                  Bridget Mary McCormack            Should this proposal be adopted?                                                                               Bridget Mary McCormack            Should this proposal be adopted?
                        Justice of Supreme Court                                                                                                                         Justice of Supreme Court
                                                                                          Yes                                                                                                                                               Yes

                                                                                           No                                                                                                                                               No

              Judge of Court of Appeals                          Proposal 20-2                                                                                 Judge of Court of Appeals                          Proposal 20-2
                     4th District                   A proposed constitutional amendment                                                                               4th District                   A proposed constitutional amendment
                 Incumbent Position                 to require a search warrant in order to                                                                       Incumbent Position                 to require a search warrant in order to
                 Vote for not more than 2            access a person’s electronic data or                                                                         Vote for not more than 2            access a person’s electronic data or
                                                          electronic communications                                                                                                                        electronic communications
                            Michael J. Kelly                                                                                                                                 Michael J. Kelly
                       Judge of Court of Appeals                                                                                                                        Judge of Court of Appeals
                     Amy Ronayne Krause             This proposed constitutional amendment would:                                                                     Amy Ronayne Krause             This proposed constitutional amendment would:
                       Judge of Court of Appeals                                                                                                                        Judge of Court of Appeals
                                                    ·    Prohibit unreasonable searches or                                                                                                           ·    Prohibit unreasonable searches or
                                                         seizures of a person’s electronic data and                                                                                                       seizures of a person’s electronic data and
                                                         electronic communications.                                                                                                                       electronic communications.
                                                    ·    Require a search warrant to access a                                                                                                        ·    Require a search warrant to access a
                                                         person’s electronic data or electronic                                                                                                           person’s electronic data or electronic
              Judge of Court of Appeals                  communications, under the same                                                                        Judge of Court of Appeals                  communications, under the same
                     4th District                        conditions currently required for the                                                                        4th District                        conditions currently required for the
               Non-Incumbent Position                    government to obtain a search warrant to                                                               Non-Incumbent Position                    government to obtain a search warrant to
                 Vote for not more than 1                search a person’s house or seize a                                                                       Vote for not more than 1                search a person’s house or seize a
                                                         person’s things.                                                                                                                                 person’s things.
                               Michelle Rick                                                                                                                                    Michelle Rick
                                                    Should this proposal be adopted?                                                                                                                 Should this proposal be adopted?



                Judge of Circuit Court                                                    Yes                                                                    Judge of Circuit Court                                                     Yes
                     13th Circuit                                                          No                                                                         13th Circuit                                                          No
                 Incumbent Position                                                                                                                               Incumbent Position
                 Vote for not more than 1                                                                                                                         Vote for not more than 1
                      Kevin A. Elsenheimer                                                                                                                             Kevin A. Elsenheimer
                           Judge of Circuit Court                                                                                                                           Judge of Circuit Court



                        Village                                                                                                                                          Village
                       Trustee                                                                                                                                          Trustee
                Village of Mancelona                                                                                                                             Village of Mancelona
                 Vote for not more than 3                                                                                                                         Vote for not more than 2


                                 Aaron Biehl                                                                                                                                      Aaron Biehl

                                Steven Elder                                                                                                                                     Steven Elder

                                                                                                                                                                              Eugene K. Kerr




                                                                                  VOTE BOTH FRONT AND BACK OF BALLOT                                                                                                             VOTE BOTH FRONT AND BACK OF BALLOT
                                                                    1132




                                                                                                                                                                                                                     1132




                                                                                                                                                           (b) Mancelona, Precinct 1V

                      Township                          Intermediate School District                                      State                                        Township                          Intermediate School District                                         State
                         Clerk                                   Board Member                                      Proposal 20-2                                          Clerk                                   Board Member                                       Proposal 20-2
                 Vote for not more than 1               Charlevoix-Emmet Intermediate                 A proposed constitutional amendment                         Vote for not more than 1               Charlevoix-Emmet Intermediate                  A proposed constitutional amendment
                                                                 School District                      to require a search warrant in order to                                                                     School District                       to require a search warrant in order to
                           Pamela Zaremba                                                              access a person’s electronic data or                                 Pamela Zaremba                                                               access a person’s electronic data or
                                     Republican
                                                        Partial Term Ending 12/31/2024                                                                                                Republican
                                                                                                                                                                                                         Partial Term Ending 12/31/2024
                                                               Vote for not more than 1                     electronic communications                                                                            Vote for not more than 1                     electronic communications


                                                                                Larry Cassidy         This proposed constitutional amendment would:                                                                             Larry Cassidy           This proposed constitutional amendment would:
                       Treasurer                                                                                                                                        Treasurer
                 Vote for not more than 1                                                             ·   Prohibit unreasonable searches or                       Vote for not more than 1                                                              ·     Prohibit unreasonable searches or
                                                                                                          seizures of a person’s electronic data and                                                                                                          seizures of a person’s electronic data and
                             Lori A. Herman                                                               electronic communications.                                          Lori A. Herman                                                                  electronic communications.
                                     Republican                  Board Member                         ·   Require a search warrant to access a                                        Republican                  Board Member                          ·     Require a search warrant to access a
                                                        Charlevoix-Emmet Intermediate                     person’s electronic data or electronic                                                         Charlevoix-Emmet Intermediate                        person’s electronic data or electronic
                                                                 School District                          communications, under the same                                                                          School District                             communications, under the same
                                                        Partial Term Ending 12/31/2022                    conditions currently required for the                                                          Partial Term Ending 12/31/2022                       conditions currently required for the
                        Trustee                                                                           government to obtain a search warrant to                       Trustee                                                                              government to obtain a search warrant to
                 Vote for not more than 2                      Vote for not more than 1                                                                           Vote for not more than 2                       Vote for not more than 1
                                                                                                          search a person’s house or seize a                                                                                                                  search a person’s house or seize a
                                                                                                          person’s things.                                                                                                                                    person’s things.
                     Linda M. Franckowiak                                                                                                                             Linda M. Franckowiak
                                     Republican                                                       Should this proposal be adopted?                                                Republican                                                        Should this proposal be adopted?
                          Robert K. Herman                                                                                                                                 Robert K. Herman
                                     Republican             Local School District                                                                                                     Republican             Local School District
                                                               Board Member                                                                  Yes                                                                Board Member                                                                     Yes
                                                          Boyne Falls Public Schools                                                          No                                                           Boyne Falls Public Schools                                                             No
                                                                 6 Year Term                                                                                                                                      6 Year Term
               Nonpartisan Section                             Vote for not more than 3                                                                         Nonpartisan Section                              Vote for not more than 3                        Local School District
                       Judicial                                               Laura Brunmeier                                                                           Judicial                                              Laura Brunmeier               Boyne Falls Public Schools Sinking
                                                                                                                                                                                                                                                                  Fund Millage Proposal
              Justice of Supreme Court                                      William Cousineau                                                                  Justice of Supreme Court                                     William Cousineau
                 Vote for not more than 2                                                                                                                         Vote for not more than 2                                                              Shall the limitation on the amount of taxes
                                                                               Karena E. Haug                                                                                                                                  Karena E. Haug
                                                                                                                                                                                                                                                        which may be assessed against all property in
                                   Mary Kelly                                   Barbara Loper                                                                                       Mary Kelly                                  Barbara Loper           Boyne Falls Public Schools, Charlevoix and
                                                                                                                                                                                                                                                        Antrim Counties, Michigan, be increased by
                  Bridget Mary McCormack                                                                                                                           Bridget Mary McCormack                                                               and the board of education be authorized to
                        Justice of Supreme Court                                                                                                                         Justice of Supreme Court                                                       levy not to exceed 2 mills ($2.00 on each
                          Kerry Lee Morgan                                                                                                                                 Kerry Lee Morgan                                                             $1,000 of taxable valuation) for a period of 10
                                                                                                                                                                                                                                                        years, 2020 to 2029, inclusive, to create a
                    Katherine Mary Nepton                                                                                                                            Katherine Mary Nepton                                                              sinking fund for the construction or repair of
                                                                                                                                                                                                                                                        school buildings, for school security
                             Brock Swartzle                                                                                                                                   Brock Swartzle                                                            improvements, for the acquisition or upgrading
                                                                 Board Member                                                                                                                                     Board Member
                                                                                                                                                                                                                                                        of technology and all other purposes authorized
                         Elizabeth M. Welch                  Boyne Falls Schools                                                                                          Elizabeth M. Welch                  Boyne Falls Schools                       by law; the estimate of the revenue the school
                                                        Partial Term Ending 12/31/2024                                                                                                                   Partial Term Ending 12/31/2024                 district will collect if the millage is approved and
                          Susan L. Hubbard                     Vote for not more than 1                                                                                    Susan L. Hubbard                      Vote for not more than 1               levied in 2020 is approximately $353,750?

                                                                                                                                                                                                                                                                                                 Yes

                                                               Proposal Section                                                                                                                                 Proposal Section                                                                  No

              Judge of Court of Appeals                                     State                                                                              Judge of Court of Appeals                                    State
                     4th District                                 Proposal 20-1
                                                                                                                                                                      4th District                                 Proposal 20-1
                 Incumbent Position                  A proposed constitutional amendment                                                                          Incumbent Position                  A proposed constitutional amendment
                 Vote for not more than 2                                                                                                                         Vote for not more than 2
                                                    to allow money from oil and gas mining                                                                                                           to allow money from oil and gas mining
                            Michael J. Kelly        on state-owned lands to continue to be                                                                                   Michael J. Kelly        on state-owned lands to continue to be
                       Judge of Court of Appeals        collected in state funds for land                                                                               Judge of Court of Appeals        collected in state funds for land
                     Amy Ronayne Krause                    protection and creation and                                                                                Amy Ronayne Krause                    protection and creation and
                       Judge of Court of Appeals                                                                                                                        Judge of Court of Appeals
                                                    maintenance of parks, nature areas, and                                                                                                          maintenance of parks, nature areas, and
                                                       public recreation facilities; and to                                                                                                             public recreation facilities; and to
                                                      describe how money in those state                                                                                                                describe how money in those state
                                                               funds can be spent                                                                                                                               funds can be spent
              Judge of Court of Appeals                                                                                                                        Judge of Court of Appeals
                     4th District
               Non-Incumbent Position
                 Vote for not more than 1

                               Michelle Rick
                                                    This proposed constitutional amendment would:

                                                    ·    Allow the State Parks Endowment Fund to
                                                         continue receiving money from sales of oil
                                                         and gas from state-owned lands to
                                                                                                                                                            (c) Warner, Precinct 1BF
                                                                                                                                                                      4th District
                                                                                                                                                                Non-Incumbent Position
                                                                                                                                                                  Vote for not more than 1

                                                                                                                                                                                Michelle Rick
                                                                                                                                                                                                     This proposed constitutional amendment would:

                                                                                                                                                                                                     ·    Allow the State Parks Endowment Fund to
                                                                                                                                                                                                          continue receiving money from sales of oil
                                                                                                                                                                                                          and gas from state-owned lands to
                                                         improve, maintain and purchase land for                                                                                                          improve, maintain and purchase land for
                                                         State parks, and for Fund administration,                                                                                                        State parks, and for Fund administration,
                                                         until its balance reaches $800,000,000.                                                                                                          until its balance reaches $800,000,000.
                Judge of Circuit Court              ·    Require subsequent oil and gas revenue                                                                  Judge of Circuit Court              ·    Require subsequent oil and gas revenue
                     13th Circuit                        from state-owned lands to go into the                                                                        13th Circuit                        from state-owned lands to go into the



               Figure 1: Ballot Design Changes. The designs of three ballots were changed
                 Incumbent Position                      Natural Resources Trust Fund.                                                                            Incumbent Position                      Natural Resources Trust Fund.
                 Vote for not more than 1                                                                                                                         Vote for not more than 1
                                                    ·    Require at least 20% of Endowment Fund                                                                                                      ·    Require at least 20% of Endowment Fund
                      Kevin A. Elsenheimer               annual spending go toward State park                                                                          Kevin A. Elsenheimer               annual spending go toward State park
                           Judge of Circuit Court        improvement.                                                                                                       Judge of Circuit Court        improvement.

                                                    ·    Require at least 25% of Trust Fund annual                                                                                                   ·    Require at least 25% of Trust Fund annual



               between the initial election package (left column) and the revised package (center
           Intermediate School District
                   Board Member
           Charlevoix-Emmet Intermediate
                   School District
                                                         spending go toward parks and public
                                                         recreation areas and at least 25% toward
                                                         land conservation.

                                                    Should this proposal be adopted?
                                                                                                                                                            Intermediate School District
                                                                                                                                                                    Board Member
                                                                                                                                                            Charlevoix-Emmet Intermediate
                                                                                                                                                                    School District
                                                                                                                                                                                                          spending go toward parks and public
                                                                                                                                                                                                          recreation areas and at least 25% toward
                                                                                                                                                                                                          land conservation.

                                                                                                                                                                                                     Should this proposal be adopted?




               column). The differences are highlighted in red (right column). These changes
                     6 Year Term                                                          Yes                                                                         6 Year Term                                                           Yes
                 Vote for not more than 3                                                                                                                         Vote for not more than 3
                                                                                           No                                                                                                                                               No

                          Thelma A. Chellis                                                                                                                                Thelma A. Chellis

                              Jean E. Frentz                                                                                                                                   Jean E. Frentz


               started a chain of events that led to the publication of erroneous results.
                              Mary P. Jason                                                                                                                                    Mary P. Jason




                                                                                  VOTE BOTH FRONT AND BACK OF BALLOT                                                                                                             VOTE BOTH FRONT AND BACK OF BALLOT
                                                                    1142




                                                                                                                                                                                                                     1142




                                                                                                                                                                                                                                                                                                               12
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            Ballot Design Changes I extracted the contents of the election packages.
            Among other files, each contains a PDF file of each ballot design. I compared the
            PDF files in the initial election package to those in the revised election package
            and found that exactly three ballot designs differed, as illustrated in Figure 1.
            The differences match Antrim’s description of the ballot changes [2]. They are:

             – Central Lake, Precinct 1V. On the ballot for Central Lake Village, the
               school board contest was corrected from the Ellsworth School District to
               the Central Lake School District, as shown in Figure 1a. The number of
               choices remained the same, but the contest changed from vote-for-two to
               vote-for-three, necessitating an additional write-in blank. This shifted the
               position of the contest below, State Proposal 20-1, down by one row.
             – Mancelona, Precinct 1V. On the ballot for Mancelona Village, a candidate
               (Eugene K. Kerr) was added to the Village Trustee contest, shown in Figure 1b.
               The contest was also changed from vote-for-three to vote-for-two, so there
               was one fewer write-in blank and no change to the position of any contest.
             – Warner, Precinct 1BF. On the ballot for part of Warner Township, a contest
               was added for the Boyne Falls Public Schools Sinking Fund Millage Proposal,
               as shown in Figure 1c. The new contest appears at the end of the last column
               of the last page of the ballot, so no other contest changed position.

            Scanner Election Definitions The election packages also contain election
            definition files to be copied to each scanner’s memory card. I compared the
            election definition files that are actually on the memory cards to those in the
            initial and revised election packages.
                Every memory card matched either the initial or the revised election package,
            indicating that the election definitions on the cards were not altered after being
            written. Four cards matched the revised election package: Banks Township, Cen-
            tral Lake Township, and both precincts from Mancelona Township. The Central
            Lake card contains the revised election definition because it was reinitialized
            after the election in order to rescan the ballots. In Banks Township, the election
            definitions from the initial and revised packages are identical (for reasons that
            will become clear), so although the card was initialized using the initial election
            package, it happens to match the revised election package as well. All of this
            is consistent with Antrim’s claim that the only scanners that used the revised
            election definitions on election day were those in Mancelona Township.


            3.2   Events on Election Night

            On the night of the election, November 3, county staff began loading results into
            the EMS as scanner memory cards arrived from around the county. I reconstructed
            events that night from the EMS user log, as summarized in Table 4.
                The first card was successfully loaded at 9:49 p.m. The earliest sign of trouble
            occurred when loading the next card, from Warner Township, at 10:31 p.m.:
            despite multiple attempts, the EMS refused to accept the data. The log shows


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                                          Hash of election definition files from:
            Scanner               Memory Card            Initial Package       Revised Package
            Banks (a)          ff03cbbb51cc3a5d        ff03cbbb51cc3a5d       ff03cbbb51cc3a5d
            Central Lake (b)    c00dcf4ca35ef7f6        7b8591f6740fb8f5       c00dcf4ca35ef7f6
            Chestonia          f391bbd613fdc6c4        f391bbd613fdc6c4        74a7117cfd151c4f
            Custer             bb84f43854455a1e        bb84f43854455a1e       ba8ae12c2be863bd
            Echo                0ee14f49f5791a81        0ee14f49f5791a81      34715b0f5e2f0023
            Elk Rapids 1       c02565674b0f5c98        c02565674b0f5c98       20070f5cbd169c97
            Elk Rapids AV      112ec69d110e5a3b        112ec69d110e5a3b       e7eec7a46e512890
            Forest Home         f78c3d04faf939d3        f78c3d04faf939d3      87619945510c2734
            Helena             506f34c5dafa9089        506f34c5dafa9089        df345e890f6790ac
            Jordan             564abac2dddffc0d        564abac2dddffc0d       ee2ed5c613862e05
            Kearney            b21d1803326105b7        b21d1803326105b7        103428ac3f693dfe
            Mancelona 1 (c)    1a98842abe440234        820b4e24a3794af3       1a98842abe440234
            Mancelona 2 (c)     f7261e8ce3d4e2f2       5de5f2843b9791f9        f7261e8ce3d4e2f2
            Milton 1           d6707193f98ac434        d6707193f98ac434        13eafaa33fe413d1
            Milton AV           f12ae9d71f3e56fe        f12ae9d71f3e56fe      b61c12678d3e9279
            Star               8137bf3b0ddc8769        8137bf3b0ddc8769       77c67db8aa97ef02
            Torch Lake         2f2de2a0f8bfbdb8        2f2de2a0f8bfbdb8        b45c508fae9aa39f
            Warner             850d06f4a744f588        850d06f4a744f588       3eb6246c63c5d88a
            Notes: (a) Definition is same in both packages; (b) Used initial definition Nov. 3 but
            rescanned Nov. 6 with revised definition; (c) Revised definition loaded before Nov. 3.

            Table 3: Scanner Election Definitions. Only four of 18 scanners (Banks, Cen-
            tral Lake, Mancelona 1 and 2) used election definitions that matched the revised
            election package. Each entry shows the truncated SHA-256 hash of the election
            definition files. Matching hashes (highlighted ) indicate files that are identical.




            that after successfully loading two further cards, at 11:03 p.m. a staffer began
            manually entering the Warner results from the poll tape. At 12:28 a.m., the EMS
            was unable to load any votes from the card from Elk Rapids Precinct 1, although
            there was no problem with the Elk Rapids AV Board card. At 12:39 a.m., the
            EMS similarly was unable to load votes from the card from Milton Precinct 1
            even though the Milton Township AV Board card had loaded normally. The EMS
            operator manually entered the results from these scanners. In all, 15 of the 18
            cards loaded successfully, and three failed to load and were entered manually. The
            last card was loaded at 3:44 a.m, and the EMS generated the initial unofficial
            results report at 4:09 a.m. This report was printed, scanned, and uploaded to
            the county website [3].
                Antrim’s timeline states that it received the first reports of errors in the initial
            results early the next morning, around 8:15 a.m. on November 4 [2]. The county
            confirmed that the totals were widely inconsistent with the poll tapes, took down
            the published results, and began manually entering results from the poll tapes
            for the affected scanners that had not already been entered manually.


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            Nov. 3   21:48            EMS begins loading results from scanner memory cards.
                     21:49         Chestonia Township             Card loaded successfully.
                     22:31–22:38   Warner Township                Failed to load, 7 attempts.
                     22:41         Banks Township                 Card loaded successfully.
                     22:53         Echo Township                  Card loaded successfully.
                     22:56         Warner Township                Final failed loading attempt.
                     23:03–00:18   Warner Township                Manually entered from poll tape.
            Nov. 4   00:20         Helena Township                Card loaded successfully.
                     00:23         Star Township                  Card loaded successfully.
                     00:26         Custer Township                Card loaded successfully.
                     00:28         Elk Rapids, Precinct 1         Failed to load.
                     00:31         Elk Rapids, AV Board           Card loaded successfully.
                     00:34         Torch Lake Township            Card loaded successfully.
                     00:36         Forest Home Township           Card loaded successfully.
                     00:38         Milton Township, AV Board      Card loaded successfully.
                     00:38         Milton Township, Precinct 1    Failed to load.
                     01:10–01:41   Elk Rapids, Precinct 1         Manually entered from poll tape.
                     01:43         Central Lake Township          Card loaded successfully.
                     01:48–02:04   Milton Township, Precinct 1    Manually entered from poll tape.
                     02:05         Jordan Township                Card loaded successfully.
                     03:36         Kearney Township               Card loaded successfully.
                     03:43         Mancelona, Precinct 1          Card loaded successfully.
                     03:44         Mancelona, Precinct 2          Card loaded successfully.
                     03:51–04:09    EMS produces unofficial results report for public distribution.

            Table 4: Election Night Timeline. The EMS log shows that county staff worked
            through the night of Nov. 3–4 to load results from scanner memory cards. Three
            of 18 cards failed to load, and those results were entered manually from scanner
            poll tapes. At 4:09 a.m., the EMS produced the unofficial results report posted
            on Antrim’s website. Officials learned hours later that the results were erroneous.




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            3.3   How the Voting System Represents Ballots and Votes

            Antrim County and the Bureau of Elections have explained that the major
            discrepancies in the initial results were caused by the use of mismatched election
            definitions on the EMS and on some of the county’s scanners [23]. To verify this,
            I first determined how Democracy Suite internally represents data about ballot
            designs, voted ballots, and election results.
                 Election Event Designer (EED) is the component of the D-Suite EMS software
            used to generate ballot layouts and election definition files [8]. Election workers
            use EED to define contests and associated choices (e.g., candidates), then assign
            each contest to one or more polling districts. Some precincts consist of only one
            district, but others are split into multiple polling districts with different local
            contests, e.g., if portions of the precinct fall within different school districts.
            Based on this data, EED automatically generates the election definition and
            ballot design for each polling district [8].
                 Internally, Democracy Suite represents the structure of the ballots using a
            collection of database tables. Each row in the BallotManifestation table corresponds
            to the ballot design used in a particular polling district; each row in the the
            ContestManifestation table represents an instance of a contest appearing on a
            particular ballot design; and each row in the ChoiceManifestation table represents
            an instance of a choice appearing on a particular ballot design.
                 Every row in these tables is associated with a numeric identifier called the
            internalMachineId. When EED generates election definitions, it automatically
            assigns sequential internalMachineId numbers to every ballot design, to every
            contest, and to every choice, across all polling districts. These sequences continue
            from one polling district to the next, in alphabetical order. For instance, in the
            initial election definition, the ChoiceManifestations for “Central Lake Township,
            Precinct 1V” are assigned internalMachineId 820–961 and those for “Chestonia
            Township, Precinct 1C7AL” (the alphabetically-next polling district) are assigned
            internalMachineId 962–1091. The other two tables follow the same pattern.
                 Each memory card is loaded with a subset of the election definition data. For
            each ballot design used in the polling place, this data specifies the coordinates of
            each voting target and the internalMachineIds of the corresponding ChoiceMani-
            festation, ContestManifestation, and BallotManifestation. The memory card also
            contains names of the choices and contests and other data necessary to count the
            votes, such as the maximum number of selections allowed in each contest and the
            party affiliations of the choices in contests where straight-party voting applies.
            This allows the scanner to tally the results itself and produce the poll tape.
                 The memory cards record results in two ways. First, each card contains a file
            with a name ending in TOTALS.DVD that stores the scanner’s tallies. A second
            file, with a name ending in DETAIL.DVD, stores the scanner’s interpretation of
            each ballot, which is known as a cast-vote record or CVR. It records whether
            or not the scanner detected a mark for each voting target on each contest on
            each ballot. These files do not contain the names of the contests and candidates.
            Instead, each result or selection is associated with the internalMachineIds of the


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            corresponding BallotManifestation, ContestManifestation, and ChoiceManifestation
            from the scanner’s copy of the election definition.
                When the EMS loads results from the memory card, it interprets these files
            using its copy of the election definition. As long as the scanner and the EMS
            use copies of the same election definition, the files should be read correctly—as
            will normally be the case when they are properly configured. However, the EMS
            does not verify that the election definitions actually are the same. When they are
            different—as was the case in Antrim County for scanners that were not updated
            after the ballot design changes—this can lead to inaccurate results.


            3.4   Effects of the Ballot Design Changes

            The election project log shows that when Antrim requested the last-minute
            corrections to the ballot designs, ElectionSource modified the election project in
            EED and regenerated the ballot layouts and election definitions. I followed the
            same steps, and the only indication given by the EMS software that the changes
            might cause problems was a notice that “All previously created and deployed
            election files will be unusuable”. The software did not warn that use of the old
            files could potentially lead to inaccurate results. Antrim did use the previously
            deployed election definition files in 16 of 18 scanners, which caused result data
            from the scanners to be incorrectly interpreted by the EMS.
                 The way that ElectionSource regenerated the election definitions had the
            side-effect of assigning different ChoiceManifestation identifiers to most voting
            targets throughout the county, while leaving the BallotManifestation identifiers
            and most of the ContestManifestation identifiers the same. This rendered the
            revised election definitions subtly incompatible with those that had already been
            deployed. I compared the databases from the initial and revised election projects
            to determine precisely how the ballot design changes affected these identifiers.
                 Correcting the school board contest in Central Lake required adding a write-in
            blank. When EED regenerated the election definitions, this addition caused the
            ChoiceManifestation numbers assigned to all subsequent voting targets to increase
            by one. This affected all choices in later contests on the Central Lake Precinct
            1V ballot and all choices in all contests for alphabetically later townships.5
                 These changes to the identifiers, coupled with the county’s failure to update
            the memory cards in most scanners, caused the major errors in the initial unofficial
            results. Figure 2 illustrates what went wrong. Scanners using the initial election
            definition recorded votes to the memory cards using the old ChoiceManifestation
            numbers. The EMS interpreted the data using the revised election definition and
            the new ChoiceManifestation numbers. Where these identifiers differed, the EMS
            assigned the votes to the wrong candidates. If the voter marked the first choice
            in an affected contest, the ChoiceManifestation identifier was no longer associated
            with the same ContestManifestation under the revised election definition, and the
              5
                This explains why the election definition for Banks Township did not change:
           “Banks” comes before “Central Lake” in alphabetical sequence.


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               Central Lake, Precinct 1V       Central Lake, Precinct 1V
                Initial Ballot Definition      Revised Ballot Definition   (3) In alphabetically later
                                                                           townships, the change in
                                                                           Central Lake incremented
                                                                            the ID for every choice.



                 952                            952
                 953                            953
                 954                            954
                 955                            955
                                                956
                                                                           962   963
                                                                           963   964
                                                                           964   965
                                                                           965   966
                            (1) The Central Lake, Precinct 1V              966   967
                        ballot was modified to reflect the correct         967   968
                        school board contest. This necessitated                        Text
                                                                           968   969
                         inserting an additional write-in blank.




                                                                           969   970
                             (2) The insertion
                             incremented the                               970   971
                           ID number of every
                        subsequent voting target.
                                                                           971   972


                                                                             (4) A scanner using the
                                                                            initial definition records
                                                                           this Trump vote as ID 970.
                  956                                                          The EMS, using the
                                                                           revised definition, reports
                  957                             957
                                                                           ID 970 as a vote for Biden.
                                                  958



            Figure 2: Explaining the Major Reporting Discrepancy. D-Suite automat-
            ically assigns sequential ID numbers to voting targets across every ballot style.
            Correcting the ballot design for Central Lake Village required adding a write-in
            blank, which increased the ID number of every subsequent voting target by 1,
            including all targets in alphabetically later townships. Scanners in most precincts
            used the initial election definition (from before the change) and recorded votes
            under the old ID numbers. The EMS interpreted these ID numbers using the
            revised election definition, causing it to assign the votes to the wrong candidates.




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            EMS ignored the selection. A mark for any other choice was interpreted by the
            EMS as a mark for the choice above it on the ballot.
                The changes to the other two ballot designs were less significant for reporting.
            The correction in Mancelona Township left the number of choices the same, so it
            did not change the identifier sequence. In Warner Township Precinct 1BF, the
            addition of the missing Sinking Fund contest increased the identifiers of later
            ChoiceManifestations and ContestManifestations. However, since Warner was the
            last township alphabetically, and its results were entered manually on election
            night, these changes had no effect on reporting.


            3.5   Why Cards Failed to Load

            In order to understand what the EMS operator saw when loading the memory
            cards on election night, I followed the same steps, loading the memory card data
            using the D-Suite RTR application running on a copy of the EMS. The Warner
            Township card resulted in a generic error message, “Failed to load [filename].”
            The Elk Rapids 1 and Milton 1 cards resulted in a somewhat similar looking
            warning message with different text, “Result file [filename] has not been closed.
            Result file will be loaded.” Despite this message, no votes were loaded from either
            card. For all the other cards, the EMS reported, “Result file [filename] was loaded
            successfully.” This message appeared even for cards which were loaded incorrectly
            due to the mismatched election definitions.
                I investigated why the three memory cards failed to load. The EMS error log
            shows that the Warner Township card failed to load because of the mismatched
            election definitions. Unlike in the other townships where ballot designs changed,
            in Warner, there was a contest added to the ballot. This increased the identifiers
            for subsequent ContestManifestations, including those in later polling districts in
            Warner Township. Consequently, the Warner memory card contained votes for
            which the ContestManifestation identifiers were no longer associated with the same
            BallotManifestation under the revised election definition. The EMS apparently
            detected this inconsistency and refused to load the card. 6
                The Elk Rapids 1 and Milton 1 memory cards failed to load for a different
            reason: they did not contain any election results. To determine why, I examined
            the scanner logs on those cards. As shown in Figure 3, the logs indicate that on
            election night, after closing the polls and printing poll tapes, workers in these
            townships commanded the scanners to “re-zero” their memory cards, discarding
            the results and resetting the cards to a pre-election state.
                Re-zeroing the cards is a significant deviation from normal election procedures.
            Although the poll tape contains a record of the scanner’s totals, manually entering
            the results is a laborious (and error-prone) process. Moreover, the data on the
            memory card is the primary electronic record of the votes and an important
            source of evidence if the integrity of the physical ballots is called into question.
               6
                 This is analogous to the situation in other townships where ChoiceManifestation
            identifiers were no longer associated with the same ContestManifestation. However, in
            those cases, the EMS loaded the cards and simply ignored the affected selections.


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            Nov 03/2020 06:46:02   ***********************************
            Nov 03/2020 06:46:02   * System Starting
            Nov 03/2020 06:46:02   * Model Type PCOS-320C (Rev 1072)
            Nov 03/2020 06:46:02   * Serial Number: AAFAJHX0109
            Nov 03/2020 06:46:02   * Protective Counter: 5360
            Nov 03/2020 06:46:02   * Software Version: 5.5.3-0002 #2 Fri Jul 27 09:18:31 CDT 2018
            Nov 03/2020 06:46:02   * Election Project: Antrim November 2020
            Nov 03/2020 06:46:02   ***********************************
                     [...]
            Nov 03/2020 06:47:54   Admin chose to Open Poll
            Nov 03/2020 06:47:59   Printing 1 copy of ZERO TAPE
            Nov 03/2020 07:22:26   Administrator declined to print another copy of ZERO TAPE.
            Nov 03/2020 07:22:26   Poll Opened for Voting Location ID 6, Tabulator ID 6
                     [...]
            Nov 03/2020 20:15:28   Total number of ballots = 1423.
            Nov 03/2020 20:16:14   Administrator key for ’Admin’ detected.
            Nov 03/2020 20:16:14   Administrative Key inserted
            Nov 03/2020 20:16:18   Admin chose to Close the Poll
            Nov 03/2020 20:16:38   Correct passcode entered for Close.
            Nov 03/2020 20:16:38   Requesting confirmation to close poll.
            Nov 03/2020 20:16:49   Starting election database close poll procedure.
            Nov 03/2020 20:16:49   Saving Poll-Close time.
            Nov 03/2020 20:17:38   Beginning to create Total Results file.
            Nov 03/2020 20:18:45   - Successfully created Total Results file
                                   ’/cflash/1120_6_6_0_TOTALS.DVD’.
            Nov 03/2020 20:18:46   Printing 1 copy of RESULTS TAPE
            Nov 03/2020 20:21:44   Administrator chose to print another copy of RESULTS TAPE.
            Nov 03/2020 20:21:45   Printing 1 copy of RESULTS TAPE
            Nov 03/2020 20:24:57   Administrator chose to print another copy of RESULTS TAPE.
            Nov 03/2020 20:24:57   Printing 1 copy of RESULTS TAPE
            Nov 03/2020 20:29:11   Administrator chose to print another copy of RESULTS TAPE.
            Nov 03/2020 20:29:11   Printing 1 copy of RESULTS TAPE
            Nov 03/2020 20:31:53   Administrator declined to print another copy of RESULTS TAPE.
            Nov 03/2020 20:31:53   Poll Closed for Voting Location ID 6, Tabulator ID 6
            Nov 03/2020 20:32:59   Admin chose Utilities Options
            Nov 03/2020 20:33:07   Admin chose to Rezero the Results.
            Nov 03/2020 20:33:16   Correct passcode entered for Rezero.
            Nov 03/2020 20:33:16   Start election database re-zero poll procedure.
            Nov 03/2020 20:33:20   Comparing Raw Results files on primary and secondary cards...
            Nov 03/2020 20:33:20   ... Raw Results files match.
            Nov 03/2020 20:33:20   Comparing Detail Results files on primary and secondary cards...
            Nov 03/2020 20:33:20   ... Detail Results files match.
            Nov 03/2020 20:33:20   Comparing Write-in Image files on primary and secondary cards...
            Nov 03/2020 20:33:20   ... Write-in Images files match.
            Nov 03/2020 20:33:21   Image Partition reset.
            Nov 03/2020 20:33:21   Results re-zeroed.
            Nov 03/2020 20:33:32   Admin chose to Shutdown the Unit
            Nov 03/2020 20:35:23   Shutdown system.
            Nov 03/2020 20:35:24   >> DvsShutdown(fast:00000000).
            Nov 03/2020 20:35:24   Creating total results file
            Nov 03/2020 20:35:24   Beginning to create Total Results file.
            Nov 03/2020 20:35:24   - Successfully created Total Results file
                                   ’/cflash/1120_6_6_0_TOTALS.DVD’.
            Nov 03/2020 20:35:24   Total Results completed (rc=0)
            Nov 03/2020 20:35:24   >> Shutting down AVS.


            Figure 3: Memory Cards Mistakenly Re-zeroed. Scanner logs from Elk
            Rapids Precinct 1 (excerpt above) and Milton Precinct 1 show that workers
            at both locations made a serious procedural error. After closing the polls and
            printing the poll tapes, they “re-zeroed” the memory cards, discarding the digital
            results and resetting the cards to a pre-election state. This explains why the
            EMS was unable to load the two cards, forcing results to be entered manually.



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                It is noteworthy that workers in separate polling places re-zeroed the memory
            cards almost simultaneously. Furthermore, this was not the first time that Antrim
            poll workers made this mistake. I examined the election project database from
            the previous election, in August 2020, which is present in the EMS image. During
            that election, the memory card for the Elk Rapids AV Board was re-zeroed and
            entered manually. This pattern of lapses suggests that there may be a serious
            deficiency in the poll worker training or documentation employed in the county.
                These procedural errors may have contributed to the publication of incorrect
            results in November. Had the Elk Rapids and Milton cards loaded, the county-
            wide discrepancies would have been even more stark, making it more likely that
            county staff would have noticed before posting the report. Moreover, the EMS
            error message when loading the Warner Township card might have alerted the
            operator that there was a potentially serious problem, had not a superficially
            similar issue occurred in August for which the solution was simply to enter
            results manually. This appears to be an instance of “normalization of deviance”—
            aberrant practices coming to be considered harmless if they do not immediately
            cause a catastrophe—a phenomenon that has contributed to major disasters in
            aerospace and other industries [33].


            3.6   Effects on the Presidential Contest

            To further understand the effects of the mismatched election definitions, I closely
            examined how they impacted the initial results for the presidential contest.
                The presidential candidates appeared in the same order on all ballots, begin-
            ning with Biden, Trump, and Libertarian Party candidate Jo Jorgensen. The
            ballots also contained a “Straight Party Ticket” option, for which the first three
            choices were the Democratic, Republican, and Libertarian parties. If the voter
            selected a party, that party’s presidential candidate would receive a vote unless
            the voter selected a presidential candidate from a different party or a write-in.
                The initial presidential results from several scanners were unaffected by the
            election definition mismatch for various reasons:

             – Banks Township. Since Banks comes first in alphabetical sequence—before
               the townships where the ballot designs were altered—its election definition
               did not change and initial results there were not affected.
             – Central Lake Township. Although the modification to the school board race
               in Central Lake Village affected all subsequent contests, it occurred after
               every instance of the presidential contest in Central Lake Township, so the
               initial presidential results there were not affected.
             – Mancelona Township. Mancelona was the only locality to have its memory
               cards provisioned with the revised election definition before the election, so
               the initial results in all contests there were loaded correctly by the EMS.
             – Elk Rapids 1, Milton 1, and Warner. Since the EMS could not load these
               cards, results were entered manually and unaffected. (Initial results for the Elk
               Rapids and Milton AV Boards came from other scanners and were affected.)


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                                    Final Results                  Reproduced Error           ∆
                              Biden      Trump    Jorgen.             Biden     Trump        BT
            Banks                  349      756         11   (a)          349       756      0 0
            Central Lake           549      906         16   (a)          549       906      0 2
            Chestonia               93      197          3   ←            197         3      0 0
            Custer                 240      521         11   ←            521        11      2 0
            Echo                   198      392          8   ←            392         8      0 0
            Elk Rapids 1           784      611          5   (b)          784       611      0 0
            Elk Rapids AV          202      414         12   ←            414        12      0 2
            Forest Home            610      753         19   ←            753        19      2 0
            Helena                 306      431          4   ←            431         4      1 0
            Jordan                 183      371         13   ←            371        13      1 0
            Kearney                471      743         16   ←            743        16      1 0
            Mancelona 1            276      835         20   (c)          276       835      0 0
            Mancelona 2            247      646         13   (c)          247       646      0 0
            Milton 1               143      478         12   (b)          143       478      0 0
            Milton AV              626      543          6   ←            543         6      0 0
            Star                   161      462         10   ←            462        10      0 0
            Torch Lake             462      526          7   ←            526         7      1 1
            Warner                  60      163          3   (b)           60       163      0 0

            Total                5960      9748       189               7761      4504       8 5
            Precinct notes: (a) IDs not shifted; (b) Entered manually; (c) Used updated card.

            Table 5: Approximating the Erroneous Presidential Results. A simple
            rule closely reproduces the erroneous initial presidential results. Working
            backwards from the final results (left), shift Trump’s votes into Biden’s column
            and Jorgensen’s votes into Trump’s (right), except for in precincts that were
            unaffected by the election definition mismatch for reasons noted. This yields
            totals that differ from the initial reported results by only 13 votes, or 0.1% (∆).



                The initial unofficial results from all other scanners were impacted in a
            consistent way, shown in Table 6. The EMS ignored selections for Biden, treated
            selections for Trump as selections for Biden, and treated selections for Jorgensen
            as selections for Trump. Other third-party candidates and write-ins were similarly
            shifted. The same pattern occurred with the straight-party option. Considering
            the effects on the straight-party and presidential selections together, the EMS
            ignored most votes intended for Biden, reported all votes intended for Trump as
            votes for Biden, and reported all votes intended for Jorgensen as votes for Trump.
                This pattern lets us almost exactly reproduce the erroneous initial results
            from the final presidential results by simply shifting the totals for each candidate
            in the affected precincts, as shown in Table 5.7 Biden and Trump’s totals in
                7
                  In the table, I have split out the Elk Rapids and Milton AV boards from the rest
            of these townships using data from the EMS, since only the AV boards were affected.


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                                Voter Marks          Scanner Reads          EMS Interprets
                                 Democratic            Democratic             No selection
               Straight
                                 Republican            Republican             Democratic
                Party
                                 Libertarian           Libertarian            Republican
                Ticket
                                U.S. Taxpayers        U.S. Taxpayers          Libertarian
                                Working Class         Working Class          U.S. Taxpayers
                                    Green                 Green              Working Class
                                 Natural Law           Natural Law               Green
                                   Biden                 Biden                No selection
              President
                                   Trump                 Trump                   Biden
              and Vice
                                 Jorgensen             Jorgensen                 Trump
              President
                                Blankenship           Blankenship              Jorgensen
                                  Hawkins               Hawkins               Blankenship
                                De La Fuente          De La Fuente              Hawkins
                                  Write-in              Write-in              De La Fuente

            Table 6: Misattributed Selections. As a result of the mismatched election
            definitions, scanners that used the initial election definition read votes for most
            contests correctly, but when their memory cards were interpreted by the EMS
            using the revised election definition, selections were attributed to the wrong can-
            didates. This table shows the effects in the straight-party option and presidential
            contest, but others were similarly affected.




                Voter’s Selection         EMS Interpretation             Voter      EMS
               Party       President       Party       President       Intended    Reported

            No selection Trump          No selection Biden              Trump        Biden
                X        Trump            X −1       Biden              Trump        Biden
            Republican No selection     Democratic No selection         Trump        Biden
            Republican   Biden          Democratic No selection         Biden        Biden
            No selection Jorgensen      No selection Trump             Jorgensen    Trump
                X        Jorgensen        X −1       Trump             Jorgensen    Trump
            Libertarian No selection    Republican No selection        Jorgensen    Trump
            Libertarian    Biden        Republican No selection          Biden      Trump

            Table 7: Votes Reported for Trump and Biden. As a result of the
            mismatched election definitions, when the EMS interpreted memory cards
            from most scanners that used the initial election definition, Biden received the
            votes intended for Trump plus those of voters who selected the Republican
            straight-party option but split the ticket for Biden. Trump received the votes
            intended for Libertarian candidate Jo Jorgensen plus those of voters who selected
            the Libertarian straight-party option but split the ticket for Biden.




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            this reconstruction differ from the initial results by only 13 votes (0.1%). This
            demonstrates that the election definition mismatch caused the major errors.
                The small differences between the reconstruction and the actual initial results
            are due to unusual cases not covered by the rule above. Ballots with both the
            Republican straight-party option and Biden selected were correctly reported
            as votes for Biden, because the EMS misinterpreted the candidate selection as
            blank but also misinterpreted the party selection as Democratic. Similarly, ballots
            marked for the Libertarian straight-party option and for Biden were reported as
            votes for Trump, since the EMS misinterpreted them as having the Republican
            Party selected with no selection in the presidential contest. Table 7 lists all cases
            in which the EMS attributed correctly marked ballots to Biden and to Trump.
                The final circumstance in which the election definition mismatch caused the
            EMS to misreport presidential votes is for certain kinds of overvotes. If the voter
            made two selections in the straight-party option or the presidential contest, this
            should create an overvote condition and lead to both selections being ignored.
            However, if one of the marks was for the Democratic Party or Biden, the EMS
            ignored that mark but accepted the second mark as if it had been shifted one place
            up the ballot, leading to a complicated set of potential errors.8 Such overvotes
            were extremely rare in Antrim County. In Section 3.9, I confirm that correcting
            for the full effects of the election definition mismatch, including overvotes and
            split-ticket votes, exactly reproduces the anomalous initial presidential results.


            3.7    Anomalies in the Second Results Report

            To correct the errors caused by the mismatched election definitions, county work-
            ers manually entered results for all affected tabulators and published a second,
            partial set of unofficial results on November 5 [4]. However, these results were still
            badly erroneous, as shown in Table 1. Due to an operator error, totals for three
            precincts included both the manually entered results and the incorrect results
            loaded from the memory cards. This affected Custer, Echo, and the Elk Rapids
            AV Board. By manually the data in the EMS, I confirmed that the presidential
            results published on November 5 matched the sum of the results from the memory
            card and the manually entered results for these three scanners.
                This was a simple mistake to make. From the operator’s perspective, the
            EMS stored each version of the precincts’ results as a separate “result file”. For
            most precincts, there was one result file that had been loaded from the memory
            card and a second that had been entered manually. To include result files in the
            reported results, the operator sets them to the “published” state. After adding
            the manual results, the operator should have set the memory card result files to
            a “rejected” state. However, the EMS log shows that this step was missed for
            the three scanners mentioned above.
               8
                 For example, ballots simultaneously marked for both the Democratic and Republican
            straight-party options would be misreported as votes for Biden if the presidential contest
            was marked in any of the following ways: Trump; Biden and Trump; any two candidates
            except Biden; any combination of three or more candidates; or nobody.


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                While manually entering the results, county staff discovered that the poll
            tape for Central Lake Village contained the wrong school board race, because
            the scanner memory card had used the initial election definition, from before
            the race was corrected. To fix the problem, county staff reinitialized the Central
            Lake memory card using the revised election definition, and the township used it
            to scan its ballots again on November 6 [2].


            3.8   Data Entry Errors Corrected After Certification

            The County Board of Canvassers certified the official results late on November 6,
            including the results from rescanning Central Lake. However, some contests in
            the original certified results from several precincts did not match the poll tapes as
            a result of data entry errors. The errors affected about 2.6% of votes county-wide.
                Michigan canvassing procedures call for county canvassers to compare the
            reported results to the poll tapes from individual machines [17], so these errors
            should have been caught on November 6, but they were not. Checking the
            poll tapes is important not only for catching data entry errors, but also as a
            security mechanism. If results are carefully checked, it would be impossible for
            an attacker to manipulate results during transmission from the polling places,
            or by accessing the EMS after the election, without the changes being detected.
            That this comparison was not correctly completed by the canvassers in Antrim
            County is a significant procedural breakdown that warrants further investigation.
                Antrim restated its certified results twice to correct the data entry errors:

             1. On November 16, the county updated the certified results [6] to correct
                Kearney Township, Precinct 1T. The EMS shows that the manually entered
                results had omitted the U.S. Senate and Regent of the University of Michigan
                contests and the number of write-ins in the presidential contest.
             2. On November 21, Antrim corrected further data entry errors across several
                more townships. Manually entered results in Chestonia Township, Precinct
                1C7AL, had omitted the results for the State Representative contest and one
                school board candidate. In Custer Township, Precinct 1C5BE, the number of
                votes for two members of the State Board of Education had been transposed.
                In Milton Township, Precinct 1, results had been omitted for State Represen-
                tative, State Board of Education, Trustee of Michigan State University, and
                a variety of county and local offices. In Star Township, Precinct 1, results for
                State Representative and County Sheriff had been omitted. In Elk Rapids,
                Precinct 1T, votes for a third-party U.S. Senate candidate had been omitted,
                as was the number of write-in votes in the State Representative race in
                Precinct 1V. Also in Elk Rapids, Precinct 1V, there were typographical errors
                in results for County Drain Commissioner candidate Mark Stone (468 instead
                of 488) and Village Trustee candidate Laura Shumate (163 instead of 168).

               The County published the second amended certified results on November 21,
            and they remain the final results [7]. The Board of State Canvassers certified
            Michigan’s state and federal results on November 23 [12].


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            3.9   Confirming that All Reporting Errors have been Corrected
            I conducted a series of experiments to confirm that the explanations discussed
            above fully account for the discrepancies between the county-level results and
            the poll tapes and to verify that these discrepancies have been corrected.
            Rectifying the Election Definition Mismatch
            First, I used the EMS software to test whether loading the memory cards using
            a matching election definition would produce the reported results. I restored
            the initial election project from the first election package, thus ensuring that
            the EMS was using the initial election definitions. I then used RTR to load the
            memory cards from all scanners that had used the initial election definition and
            for which electronic results were available. (That is, all but Central Lake and
            Mancelona 1 and 2, which scanned using the revised definition, and Elk Rapids 1
            and Milton 1, where the cards were re-zeroed at the polling places.) These 13
            cards loaded successfully, including Warner Township’s, which had failed to load
            on election night under the revised election definition.
                Using a series of SQL queries, I compared the results obtained in this way to
            the final certified results contained in the EMS database. The only discrepancy
            was that the Boyne Falls Public Schools Sinking Fund Millage appears in the
            reported results for Warner Township (with zero recorded votes) but is not
            present on the Warner memory card. I explain this discrepancy in Section 4.
                Next, I restored the revised election project and loaded the Central Lake
            and Mancelona 1 and 2 memory cards under the revised election definition. I
            used further SQL queries to compare the loaded results in this way to the final
            certified results contained in the EMS database. There were no discrepancies.
                These results demonstrate that using matching election definitions would
            have prevented the reporting anomalies. They also confirm that the manually
            entered results from the 16 scanners for which memory card data is available
            do not contain further data entry errors and match the results that would have
            been obtained from the memory cards.
            Electronically Counting Votes without the EMS
            In a second experiment, I created my own software to count the presidential
            results from the memory cards, without relying on the software from the EMS.
            This provides an independent check of the accuracy of the results aggregation.
                Each memory card stores cast vote records (CVRs) in a file with a name
            ending in DETAIL.DVD. The files are encrypted using AES in CBC mode, but the
            encryption key and initialization vector can be retrieved from the ElectionEvent
            table in the EMS database. I decrypted the files and determined the data
            format. Each voting target is represented by the associated BallotManifestation,
            ContestManifestation, and ChoiceManifestation identifiers and by a boolean value
            that indicates whether the scanner detected that the target was marked.
                I wrote Python programs to extract the set of marked targets from each
            memory card and to count them using election definition data from either the
            initial or the revised election project database. Producing correct counts required
            several considerations:


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             1. First, the program checks the EMS database to verify that each marked
                ChoiceManifestation is in fact associated with the ContestManifestation and
                BallotManifestation indicated in the CVR. Otherwise, it ignores the mark
                completely. This appears to match the effects of database logic within the
                EMS and is necessary to reproduce the erroneous results.
             2. Next, the program checks for overvotes by determining whether the number
                of valid marks in a given contest is greater than the allowed number of
                selections. If so, the contest is skipped and no votes are recorded.
             3. Finally, the program applies Michigan’s straight-party voting rules to all
                partisan contests.

                Using these programs, I first counted the CVRs on all cards using the revised
            election definition, mimicking the behavior of the EMS on election night. As
            expected, the presidential results were an exact match for the initial results for
            every scanner except Elk Rapids 1, Milton 1, and Warner, for which results were
            entered manually on election night, and Central Lake. (The Central Lake card
            was reused to scan the ballots again on November 5, and the presidential results
            from that card match the reported results of the rescan.) This confirms that the
            mismatched election definitions caused the major errors in the initial results.
                Next, to undo the effects of the mismatched election definitions, I used the
            programs to count the CVRs for each card using the election definition version
            found on that card, as shown in Table 3. This provides a form of confirmation of
            the results that does not rely on the EMS’s counting and reporting logic. The
            presidential results exactly matched the final reported totals for every card that
            contained results data (i.e., all but Elk Rapids 1 and Milton 1). This further
            confirms that all reporting errors in the presidential contest have been corrected.
            Manually Comparing the Reported Results to the Poll Tapes
            As a final confirmation, I manually compared the final certified results [7] to
            copies of the poll tapes provided by the county.9 The results on the poll tapes
            for all contests in all precincts are correctly reflected in the final results. This
            confirms that the county-level reporting anomalies have been fully corrected.




               9
                The final certified results as published on Antrim County’s website are missing
            pages 47–48 of the 185-page report. These contain part of the Banks Township Trustee
            contest and the Central Lake Township Supervisor contest. Other pages are out of order
            or duplicated, so this omission is likely the result of human error or a mechanical error
            while scanning the report for posting. Antrim provided the missing pages at my request.


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            4     Discrepancies in the Scanner Poll Tapes

            The analysis in Section 3 firmly establishes that the major reporting anomalies
            on election night were caused by Antrim County’s failure to ensure that all
            scanners used the same election definition as the EMS. I also showed that the
            errors introduced during county-wide reporting have been corrected, and the
            final reported results match the poll tapes produced by the individual scanners.
                However, the poll tapes from certain precincts themselves contain errors
            that affect smaller numbers of votes, mainly in specific down-ballot contests.
            These errors have a different pattern than the major reporting anomalies. In
            most precincts, the design of the printed ballots was not changed, and so the
            individual scanners counted normally whether they were using the initial or the
            revised election definition. But ballot designs were changed in parts of three
            townships—Central Lake, Mancelona, and Warner—and I show that the changes
            led to a small number of errors on poll tapes within these localities. I investigate
            what caused the poll tape errors, determine the effects, and show that certain
            errors affecting a small number of votes remain uncorrected in the final results.


            4.1   Logic and Accuracy Testing

            Logic and accuracy testing (L&A testing) is an important pre-election procedure
            that is intended to check that polling place equipment produces accurate poll
            tapes. In order to produce accurate counts, the scanners need to use election
            definitions that are properly prepared and that match the design of the ballots
            being scanned. Correctly performed L&A testing checks both. Although L&A
            testing cannot protect against sophisticated attacks on voting equipment [10], it
            should prevent both accidental and deliberate scanner configuration errors.
                Michigan election procedures require L&A testing of all scanners and voter-
            assist terminals [19]. Workers use a “test deck”, a set of ballots marked in advance
            so that all voting targets are tested and the correct results are known. After
            scanning the test deck, they verify that the poll tape matches the expected results.
            Any deviations are a potential indication of an error in the election definition.
                I examined the scanner logs from the memory cards to determine whether
            L&A testing occurred.10 Every scanner was tested before the election, as shown
            in Table 8. Notably, both Mancelona Township cards were tested after the cards
            were updated with the revised election definition. Although the Central Lake
            scanner was tested before election day, it was not tested again after the card was
            reinitialized with the revised election definition prior to the November 6 re-scan.
                Despite the fact that every scanner was tested prior to election day, the testing
            was not successful at flagging certain problems. The poll tapes produced during
            testing in Central Lake and Warner townships reflected the initial ballot designs,
            so they contained an incorrect contest and were missing a contest, respectively.
            By the time the testing occurred, the county was aware of the ballot design errors,
               10
                  The original log for Central Lake was erased when the memory card was reinitialized
            for the November 6 re-scan, so I examined a copy of the log from the EMS database.


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                  Scanner            L&A Test Dates              Number of Test Ballots
                  Banks              October 22                  50, 256
                  Central Lake       October 23                  128
                  Chestonia          October 19                  262
                  Custer             October 24                  256
                  Echo               October 14 and 21           192; 192
                  Elk Rapids 1       October 14 and 21           64, 64; 128
                  Elk Rapids AV      October 14, 21, and 29      64, 64; 128; 8
                  Forest Home        October 23                  192
                  Helena             October 20                  64
                  Jordan             October 28                  192
                  Kearney            October 27                  192
                  Mancelona 1        October 24                  126
                  Mancelona 2        October 24                  127
                  Milton 1           October 17                  64, 64
                  Milton AV          October 17                  64
                  Star               October 20                  64
                  Torch Lake         October 21                  64, 64, 64
                  Warner             October 20                  64, 192

            Table 8: Logic & Accuracy Testing. L&A testing checks that scanners produce
            correct poll tapes when tallying a “test deck” of ballots with known selections.
            Every memory card used on election day was tested at least once. In Central Lake
            and Warner, the testers should have flagged errors in the poll tapes but did not.


            and so presumably were the townships. The workers who performed the testing
            may have either ignored these discrepancies or failed to review the test decks and
            poll tapes carefully enough to spot them. Had the townships reacted to these
            errors by updating their election definitions, it would have prevented some (but
            not all) of the residual anomalies described in this section.
                Michigan only requires L&A testing at the local level. The Bureau of Elections
            recommends, but does not require, further tests to confirm that loading results
            from the scanner memory cards into the EMS produces correct results. The EMS
            logs confirms that no such testing was conducted in Antrim County. Had the
            county performed such “end-to-end” pre-election testing, it is likely that the
            effects of the mismatched election definitions would have been detected, and the
            county-level reporting anomalies might have been averted.


            4.2    Use of Outdated Ballots and Election Definitions

            The three townships where ballot designs were altered scanned ballots a total of
            four times: once in Warner using the initial election definition, once in Mancelona
            using the revised election definition, and twice in Central Lake using the initial and
            then the revised election definition. Two factors led to inaccuracies in particular
            down-ballot contests during these scans. First, the scans that used initial election
            definitions necessarily produced results that omitted contests or candidates that


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            were added when the ballot designs were revised. Second, some of the paper
            ballots that were scanned themselves used the outdated designs.
                The last-minute ballot design changes in Central Lake, Mancelona, and Warner
            occurred after absentee voting had begun. For instance, according to Antrim
            County, 224 absentee ballots for Central Lake Village had been sent to voters
            before the change. Although these voters were later sent corrected ballots, some
            of them voted using the initial ballot designs.11 There were procedures to ensure
            that voters did not return more than one ballot, but there was apparently no
            special process for handling the initial ballots that were received—they were
            scanned mixed together with the revised ballots.
                This was problematic, because ElectionSource had regenerated the ballot
            designs in such a way that the initial and revised designs used the same ballot
            design identifiers. Normally, every ballot design has a unique identifier that allows
            the scanners to recognize it and correctly locate the voting targets, but there was
            no way for the scanners to distinguish between the two versions of the ballots
            where the design had changed. They treated them as if they were all using the
            initial design or as if they were all using the revised design, depending on which
            version of the election definition Antrim had loaded onto the memory card.

            4.3    Effects in Warner Township
           The ballot design for Warner Township, Precinct 1BF, was altered to add a
            missing contest, the Boyne Falls Public Schools Sinking Fund Millage Proposal,
            as shown in Figure 1c. The contest was added to the end of the last column
            of the ballot, so no other contests or voting targets were affected. However, as
           Warner scanner was never updated to read the revised ballot design, the votes in
            this contest were not read or reported by the scanner at all. The contest does
            not appear on the scanner poll tape and is not recorded on the memory card.
                Only a small number of Warner Township voters live in the Boyne Falls
            School District and were eligible to vote in the Sinking Fund contest. The final
            results show that there were three registered voters and three ballots cast, but no
           “Yes” or “No” votes were recorded in the contest. Some voters may have left the
            contest blank, and any who voted absentee using the initial ballot design would
            have returned ballots that lacked the contest entirely. Therefore, we can conclude
            only that between zero and three votes in the Sinking Fund contest were never
            counted. This is too few votes to affect the outcome.

            4.4    Effects in Mancelona
            The Mancelona, Precinct 1V (Mancelona Village) ballot was revised to add a
            missing candidate for Village Trustee, Eugene K. Kerr. The contest also changed
            from vote-for-three to vote-for-two, so the effect was that Kerr replaced a write-in
            blank, and no other contests or choices changed position, as shown in Figure 1c.
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                There is also no indication that Central Lake, Mancelona, or Warner Township
            updated its voter-assist terminals (VATs) to reflect the revised ballot designs. If they
            did not, voters who used the VATs would have been presented with outdated ballots.
            However, according to Antrim County, no voters used the VATs in the affected townships.


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                Mancelona’s scanners used the revised election definition, but some absentee
            voters may have returned ballots that used the initial ballot design. Since the
            scanners were not configured to read the initial ballot design, if any of these voters
            selected the first write-in blank, the scanners would have misinterpreted the vote
            as a vote for Kerr. Likewise, if any of these voters selected three candidates, the
            votes would have been unexpectedly ignored as overvotes. The data I examined
            is insufficient to determine how many votes, if any, were affected by these cases.
            However, they are likely uncommon, and the Village Trustee contest was decided
            by a large margin, so they are unlikely to have altered the outcome.

            4.5   Effects in Central Lake
            The effects of the ballot design changes in Central Lake were considerably more
            complicated. Figure 1a shows how the ballot design in Central Lake Precinct
            1V (Central Lake Village) was altered to correct the school board contest from
            Ellsworth Schools to Central Lake Schools. This changed the name of the contest
            and candidates and also the allowed number of selections, which increased from
            two to three. The increase necessitated an additional write-in blank, which shifted
            the position of the contest below, State Proposal 20-1, down by one row.
                Central Lake used the initial election definition on election day, and results
            loaded from the memory card were included in the first unofficial results. The
            township then rescanned using the revised election definition on November 6,
            producing a second poll tape, which was manually entered as part of the certified
            results. Results in the three contests affected by the ballot design change differed
            dramatically between the two scans, as shown in the poll tape excerpts in Figure 4.
                Although most of the voted ballots in Central Lake Village used the revised
            ballot design, a substantial minority used the initial ballot design. In neither scan
            was the scanner properly configured to read both versions of the ballot design
            simultaneously; as a result, both sets of scan results are partially incorrect with
            respect to certain down-ballot contests. Those that used the revised design were
            scanned incorrectly during the first scan, and those that used the initial design
            were scanned incorrectly during the second scan. I explain these errors below.
            Errors in the Election Day Scan
            Central Lake used the initial election definition on election day, but most voted
            ballots used the revised ballot design. This had several consequences for the
            accuracy of the poll tape. First, the school board contests were affected as follows:
             1. Central Lake Village votes were incorrectly included in the Ellsworth Schools
                contest. For ballots that used the initial design, which incorrectly showed
                the Ellsworth contest, votes were counted towards this contest even though
                the voters were not eligible to vote in it. For ballots that used the revised
                design, which showed the correct Central Lake Schools contest, votes were
                incorrectly tabulated for the candidates in the equivalent ballot positions in
                the Ellsworth contest. Thus, Groenink received Eckhardt’s votes on the poll
                tape, and Wallace received Shafer’s votes.


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                     (a) Election Day Scan (Nov. 3)      (b) Second Scan (Nov. 6)

            Figure 4: Central Lake Poll Tapes. Central Lake scanned twice: on election
            day using the initial election definition and on November 6 using the revised
            election definition. The poll tapes from the second scan showed large differences
            in three contests, excerpted above, due to the changes in the election definition.
            Although the second scan is closer to the correct results, my analysis shows that
            the Central Lake School Board and State Proposal 20-1 results are still in error.




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            2. On ballots that used the revised design, any write-in selections that used
               the third write-in blank were ignored, since there was no voting target in
               that position in the initial ballot design. These were not reflected in the
               election-day poll tape or on the memory card.
            3. The revised ballot design allowed up to three votes for school board. However,
               since the initial design had only allowed up to two, if a voter selected three
               candidates, other than by using the third write-in blank, the scanner ignored
               all the selections as if the contest had been overvoted, and they were not
               included in the poll tape.

                The poll tapes in Figure 4 reflect these errors. The numbers shown for each
            school board contest are the total number of votes received in all precinct splits
            in Central Lake: 1V (Central Lake Village), 1CENT (Central Lake Schools), and
           1ELS (Ellsworth Schools, which has only a small number of voters). As a result of
            the changes to the election definition, in the first scan, school board votes from 1V
           were included in the Ellsworth totals, and in the second scan, they were included
            in the Central Lake totals. Thus the second scan total for each of the two Central
            Lake Schools candidates approximately equals the sum of the votes in the first
            scan for the Central Lake and Ellsworth candidates in the equivalent position.
                Due to the election definition mismatch between the EMS and scanner,
            the election night results from the EMS were also wrong for these contests,
            but in a different way than the poll tapes. The memory card used the initial
            election definition, but the EMS used the revised election definition. Both election
            definitions used the same ContestManifestation identifier for the Central Lake
           Village school board contest and the same ChoiceManifestation identifiers values
            for the four voting targets that were present in both ballot designs. Thus, ballots
            that used the revised ballot design and only included marks among the first four
            choices were reported correctly by the EMS. Those on which the fifth choice (the
            third write-in blank) was selected were interpreted incorrectly, since the scanners
            did not record marks for this target. Ballots that used the initial design (with
            the Ellsworth contest) were also interpreted incorrectly by the EMS, with votes
            counted towards the Central Lake Schools candidates in equivalent positions.
                The first Central Lake poll tape also contains incorrect results for State
            Proposal 20-1. In the revised ballot design, the voting target for “Yes” is in the
            same position as the target for “No” was in the old design, and the target for
           “No” is in a position that was unused in the old design, as depicted in the left half
            of Figure 5. In the first scan, the scanner used the initial election definition. This
            caused it to misread Proposal 20-1 selections for ballots that used the revised
            design. For these ballots, the poll tape reported “Yes” votes as “No” and failed
            to record “No” votes at all. Ballots using the initial design were read correctly.
                When the EMS loaded the memory card from the first scan, Proposal 20-1
           votes were additionally affected by the election definition mismatch. The net
            effect was that both ballots using the initial design that were marked for “No”
           and ballots using the revised design that were marked for “Yes” were reported
            by the EMS as votes for “Yes,” and all other selections were ignored.



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               First Scan ? Initial Election Definition                       Second Scan ? Revised Election Definition

         Initial Ballot Design           Revised Ballot Design              Initial Ballot Design        Revised Ballot Design




                                                                            Scanner target
                                                                          positions changed
                                                                         between the election
                                                                          definition versions.

          Initial Ballot     Yes   Yes    Revised Ballot      Yes   No       Initial Ballot  Yes   ?      Revised Ballot Yes     Yes
         scanned with                     scanned with                      scanned with                   scanned with
        Initial Definition   No    No    Initial Definition   No    ?     Revised Definition No    Yes   Revised Definition No   No



                 Figure 5: How State Prop. 20-1 was Scanned in Central Lake Village.
                 Central Lake scanned ballots twice, once with the initial election definition (left)
                 and again with the revised definition (right). Some ballots used the initial design
                 and others used the revised design, with targets for Prop. 20-1 shifted down
                 by one row. In both scans, Prop. 20-1 selections on ballots that did not match
                 the election definition in use were miscounted (as shown in boxes at bottom).


                 Errors in the November 6 Scan
                 Central Lake completed a second scan on November 6, using the revised election
                 definition. This time, ballots that used the revised design were counted correctly,
                 but ballots from Central Lake Village that used the initial design were partially
                 misinterpreted, because the scanner was not configured to read them correctly.
                     The school board race was affected as follows:

                   1. The initial ballot design showed the wrong school board contest (Ellsworth).
                      The scanner interpreted these ballots as if they had votes for the Central Lake
                      Schools contest. Votes for Groenink were interpreted as votes for Eckhardt,
                      votes for Wallace were interpreted as votes for Shafer, and votes in the first
                      two write-in blanks were interpreted as write-ins.
                   2. The position of the voting target for the third write-in blank in the revised
                      ballot design lined up with the position of the darkly shaded “Proposal
                      Section” header on the original ballot. The scanner likely misinterpreted this
                      header as a mark in the third write-in target. The memory card records 10
                      write-ins cast using the first blank, 4 using the second, and 74 using the third.


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                             Poll Tape                        Ballot Design
              Choice                             Choice                            Total       ∆
                          First    Second                   Initial    Revised
              Yes            61         370      Yes             61     a ≈ 359       420    +50
              No            371          69      No          b ≈ 11          69        80    +11

            Table 9: Remaining Errors in State Prop. 20-1. Some voters in Central
            Lake Village cast ballots using the initial ballot design. Their votes in State Prop.
            20-1 were counted incorrectly when the ballots were scanned using the revised
            election definition. My estimate (blue) is that approximately 61 votes are not
            incorporated in the final results for this contest: 50 for “Yes” and 11 for “No”.



                Since voters usually use earlier write-in blanks before later ones, this strongly
                suggests that at least 70 ballots used the outdated ballot design.

                State Proposal 20-1 was affected too during the second scan. This time, voters
            who used the initial ballot design had their Proposal 20-1 votes misinterpreted,
            as shown on the right side of Figure 5. Those who selected “Yes” had the votes
            ignored, and those who selected “No” were counted for “Yes”. Since the final
            reported results match the poll tapes, these errors have not been corrected.
            Estimating the Size of the Error for State Proposal 20-1
           The two scan results from Central Lake provide enough information to estimate
           the number of ballots that used the initial ballot design and the size of the errors.
               The first poll tape, based on the initial election definition, showed 61 votes
           for “Yes” and 371 for “No” from Central Lake Village. Per Figure 5, the “Yes”
           votes would have been only those marked for “Yes” and using the initial ballot
           design, while the “No” votes would have been those marked “Yes” using the
           initial ballot design plus those marked “No” using the revised ballot design. The
           second poll tape, based on the revised election definition, shows 370 votes for
           “Yes” and 69 for “No”. Votes counted for “Yes” would have been those marked
           “Yes” using the revised ballot design plus those marked “No” using the initial
           ballot design. Those counted for “No” would have been only those marked “No”
           using the revised ballot design.12
               We can use these facts to estimate the results without the error. Let a be the
           number of votes for “Yes” cast using the revised ballot design, and let b be the
           number for “No” cast using the initial ballot design. Based on the facts above,
           a + b ≈ 370. In the rest of Central Lake Township, which was unaffected by the
           error,“Yes” received 84% of the votes. Under the assumption that Central Lake
           Village voted for each option in the same proportion:
                                               61 + a
                                                             ≈ 84%
                                         (61 + a) + (b + 69)
              12
                 This implies that the 371 and 370 counts should be equal. The difference is due to
            one of the three ballots that were not included in the second scan, as discussed in §4.6.


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            By simple algebra, a ≈ 359 and b ≈ 11. This implies that approximately 61 +
            11 = 72 votes were cast using the initial ballot design, and that approximately
            50 + 11 = 61 votes are not incorporated in the final results for the contest. Table 9
            summarizes this analysis.
                Since State Proposal 20-1 was decided by a margin of more than 3 million
            votes, the error could not have affected the outcome.


            4.6   Additional Discrepancies in the Central Lake Scans

            Beyond the discrepancies noted above, the poll tapes from the two Central Lake
            scans show a large number of smaller differences. Many contests have one or two
            fewer votes in the second scan. One of these differences potentially affected the
            outcome of a contest. As shown in Figure 6, in the first scan, the Central Lake
            Village Marihuana Retailer Initiative was tied (and thus defeated), but in the
            second scan, which became the final result, it passed by a single vote.
                The data I examined suggests that three ballots that were included in the first
            scan were omitted when the ballots were scanned again, either correctly or due to
            human error. The scanner log from election day, as recorded in the EMS database,
            shows that 1494 ballots were scanned. Yet the log from the memory card shows
            that only 1491 ballots were scanned on November 6. The memory card from the
            first scan was overwritten to prepare it for the second scan, so the original digital
            records of the ballots are not available. However, the EMS database contains




                   (a) Election Day Scan (Nov. 3)            (b) Second Scan (Nov. 6)

            Figure 6: Central Lake Village Marihuana Retailer Initiative. In this local
            contest, the poll tapes differ by one vote—enough to change the outcome. The
            data suggests that three ballots that were scanned on Nov. 3 were omitted when
            the ballots were re-scanned on Nov. 6, either correctly or due to human error.


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                                Ballot 1 — Central Lake Township, Precinct 1CENT
            President and Vice President of the United States : Donald J. Trump / Michael R. Pence
            United States Senator for State : John James
            Representative in Congress 1st District : Jack Bergman
            Representative in State Legislature 105th District : Ken Borton
            Member of the State Board of Education : Tami Carlone, Michelle A. Frederick
            Regent of the University of Michigan : Sarah Hubbard, Carl Meyers
            Trustee of Michigan State University : Pat O’Keefe, Tonya Schuitmaker
            Governor of Wayne State University : Don Gates
            County Prosecuting Attorney : Write-in
            County Sheriff : Write-in
            County Clerk : Sheryl Guy
            County Treasurer : Sherry A. Comben
            County Register of Deeds : Patty Niepoth
            County Drain Commissioner : Mark Stone
            County Surveyor : Scott Papineau
            County Commissioner 2nd District : Joshua E. Watrous
            Township Supervisor for Central Lake Township : Write-in
            Township Clerk for Central Lake Township : Judy Kosloski
            Township Treasurer for Central Lake Township : Andrew Smith
            Township Trustee for Central Lake Township : Patrick Hanlon, Pat Marshall
            Justice of Supreme Court : Katherine Mary Nepton, Brock Swartzle
            Judge of Court of Appeals 4th District Incumbent Position : Michael J. Kelly, Amy Ronayne Krause
            Judge of Court of Appeals 4th District Non-Incumbent Position : Michelle Rick
            Judge of Circuit Court 13th Circuit Incumbent Position : Kevin A. Elsenheimer
            Board Member for Charlevoix-Emmet Intermediate School District 6 Year Term : Thelma A. Chellis
            State Proposal 20-1 : Yes
            State Proposal 20-2 : Yes

                                   Ballot 2 — Central Lake Township, Precinct 1V
                                                    [*No selections.]

                                   Ballot 3 — Central Lake Township, Precinct 1V
            Straight Party Ticket : Republican Party
            President and Vice President of the United States : Donald J. Trump / Michael R. Pence
            United States Senator for State : John James
            Representative in Congress 1st District : Jack Bergman
            Member of the State Board of Education : Tami Carlone, Michelle A. Frederick
            Regent of the University of Michigan : Sarah Hubbard, Carl Meyers
            Trustee of Michigan State University : Pat O’Keefe, Tonya Schuitmaker
            County Prosecuting Attorney : James L. Rossiter
            County Sheriff : Daniel S. Bean
            County Clerk : Sheryl Guy
            County Treasurer : Sherry A. Comben
            County Register of Deeds : Patty Niepoth
            County Commissioner 2nd District : Joshua E. Watrous
            Township Supervisor for Central Lake Township : Stanley A. Bean
            Village President for Village of Central Lake : Rob Tyler
            Village Trustee for Village of Central Lake : Bill Chapman
            * School Board Member for Central Lake Schools : Melanie Eckhardt, Keith Shafer
            * State Proposal 20-1 : —
            * State Proposal 20-2 : —
            * A Proposed Initiated Ordinace to Authorize One (1) Marihuana Retailer Establishment Within the Village of
            Central Lake : No

                    * indicates contests that are potentially incomplete due to limited data.

            Figure 7: Reconstructed Omitted Ballots from Central Lake. This figure
            shows selections registered by the scanner on Nov. 3 for three ballots that were
            not included when the ballots were scanned again on Nov. 6. It is possible that
            these ballots were properly excluded due to some disqualifying defect. However, if
            Ballot 3 was valid and omitted due to human error, it is likely that the outcome
            of the Central Lake Village Marihuana Retailer Initiative is incorrect.


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            CVRs derived from the original memory card, in the CastVoteRecord table. Using
            this data, I was able to reconstruct the scanner’s interpretation of the three ballots.
                 The CVRs in the EMS record the EMS’s interpretation of each ballot, which
            was sometimes affected by the election definition mismatch. Within Central Lake,
            only ballots from Central Lake Village are affected, and then only particular
            contests. Selections for the third write-in blank in the school board contest were
            never recorded. In subsequent contests, selections for the first choice were never
            recorded, and those for any later choice were assigned to the preceding choice.
                 I extracted the CVRs for the first scan from the EMS database and corrected
            for the election definition mismatch. I also extracted the CVRs for the second scan
            from the memory card. Every ballot from the first scan also appears in the second
            scan, except for three ballots. My reconstruction of these is shown in Figure 5.
                 The first ballot is from Central Lake Precinct 1CENT; the reconstruction is
            complete, since this precinct was not affected by the election definition mismatch.
            The second ballot is from Central Lake Village and so would have been affected
            by the mismatch, but it was recorded by the EMS as blank. Since it is implausible
            that the voter marked only choices that would have been omitted under the
            EMS’s interpretation, the ballot very likely had no readable selections.
                 The third ballot is also from Central Lake Village. The contests marked
            with an asterisk in Figure 5 are potentially missing certain selections due to the
            election definition mismatch. For the school board contest, the reconstruction is
            likely correct; neither of the first two write-ins was selected, so the third probably
            was not either. The EMS did not record selections for State Proposal 20-1 or 20-2,
            but it is impossible to determine whether this is because the scanner detected a
            mark for “Yes”, which would have been omitted by the EMS, or because there
            was no detected selection. Finally, the data indicate that the scanner detected a
            mark for “No” in the Central Lake Village Marihuana Retailer Initiative.13
                 The data supports the conclusion that these three ballots fully account for
            the residual differences between the poll tapes from the two scans. There are
            multiple possibilities for why they were not included in the second scan. While it
            is possible that they were ruled invalid due to some defect and properly excluded,
            it is also possible that elections staff simply did not scan them the second time,
            due to human error. If these ballots are valid, it is likely that the final reported
            outcome of the Central Lake Village Marihuana Retailer Initiative is incorrect
            and that the true result is a tie, as shown on the election day poll tape.


            4.7   Results of the Presidential Hand Count

            On December 17, the State Bureau of Elections conducted a county-wide hand-
            count of the presidential contest [21]. It provides strong empirical evidence that
            there are no significant errors in Antrim County’s final reported presidential
            results. The results [20] showed a loss of 1 vote for Biden, a gain of 12 votes for
            Trump, and gains of 1 vote for each of three third-party candidates. Although
              13
                 While it is possible that there was also a mark for “Yes”, which would not have
            been recorded due to the election definition mismatch, such overvotes are uncommon.


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            Figure 8: Examples of Marginal Marks. Hand counts often produce slightly
            different results from machine counts due to “marginal marks”, instances where
            voters fill in voting targets incompletely or otherwise deviate from the ballot
            instructions. These images, from ballots cast in Georgia’s 2020 partisan primaries,
            illustrate instances where a human might count the vote differently than would a
            scanner that simply measures shading within the voting target ovals.


            Trump’s total changed by more than any other candidate’s, it differed from the
            county’s final reported result by only about 0.1%. (Trump lost state-wide by 2.8%.)
                 The precinct-level totals closely matched the scanner results. Within individual
            precincts, Trump and Biden’s results changed by at most three votes, except in
            Star Township, where Biden gained 5 votes and Trump gained 6. Eight precincts
            showed no change for either Trump or Biden, and six (including Central Lake
            and Warner) showed no net change for any candidate.
                 Small differences are common when ballots are counted by hand. Sometimes
            workers counting ballots make mistakes. Humans also interpret some votes
            differently than optical scanners, which merely sense the intensity of shading
            within the voting targets. Scanners can misread votes when voters incompletely
            fill-in voting targets or otherwise deviate from ballot instructions, as illustrated
            in Figure 8. Such “marginal marks” can cause scanners to fail to count a valid
            vote, count an invalid vote, or assign a vote to the wrong candidate.
                 Notably, the hand-count results from Central Lake agree with the results
            of the township’s second scan, which found 906 votes for Trump, and not the
            first scan, which found 908 votes for Trump. This may indicate that the three
            ballots discussed in the previous section were not present during the hand count.
            (Per my reconstruction in Figure 7, two of the ballots were marked for Trump.)
            However, it is possible that this is a coincidence, and Trump lost two votes in
            Central Lake during the hand count for unrelated reasons.




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            5     Response to ASOG Report
            I have reviewed the “Antrim Michigan Forensics Report—Revised Preliminary
            Summary, v2”, dated December 13, 2020, prepared by Russell James Ramsland,
            Jr. of Allied Security Operations Group (the “ASOG Report”, redacted version
            available at [1]). The report contains an extraordinary number of false, inaccurate,
            or unsubstantiated statements and conclusions, the most serious of which I refute
            below. Paragraph numbers that follow refer to the unredacted report.

            5.1   Claims Regarding Adjudication
            Mr. Ramsland’s central conclusion is that “the Dominion Voting System is in-
            tentionally and purposefully designed with inherent errors to create systemic
            fraud and influence election results” (¶B.2). His reasoning is that the system
            intentionally generates many errors while scanning ballots in order to cause the
            images of the ballots to be reviewed by an EMS operator, a process known as
           “adjudication” during which the votes can be manually edited (¶B.12). This pro-
           vides an opportunity, Mr. Ramsland believes, for a malicious operator to change
           votes without being detected. Citing his forensic examination, Mr. Ramsland
            claims that a “staggering number of votes [in Antrim] required adjudication”
           (¶B.12), and that “all adjudication log entries for the 2020 election cycle are
            missing” and must “have been manually removed” (¶B.15).
                There are several problems with this theory. First, adjudication occurs after
            ballots are scanned and poll tapes are printed. In Antrim County, the final
            reported results match the poll tapes in essentially all cases. Therefore, the final
            results could not have been altered using adjudication.
                Second, Mr. Ramsland mischaracterizes the adjudication process. Dominion’s
            adjudication system produces detailed logs, which are recorded in the EMS to-
            gether with the ballot scan and the scanner’s original interpretation, as illustrated
            in Figure 9. Far from being an ideal way to cheat without possibility of detection,
            adjudication creates abundant digital evidence.




            Figure 9: An Adjudicated Vote. These are excerpts from a ballot that was
            adjudicated after the 2020 presidential primary in Georgia. Dominion’s adjudica-
            tion system stores the ballot image together with the scanner’s interpretation of
            the votes and a log of any changes made by the system operator. Adjudication is
            an optional feature of the Dominion system and was not used in Antrim County.


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                Third, and fatally, adjudication functionality was not enabled at all in Antrim
            County during the November 2020 election. The adjudication software application
            is an optional component of Democracy Suite. Antrim did not purchase it, and
            my examination of the EMS shows that it was not installed. There are no adjudi-
            cation logs for the simple reason that adjudication was not used. Moreover, the
            tabulators were not configured to store ballot images—a necessary precondition
            for adjudication—and my inspection of the memory cards confirms that no ballot
            images are present. This means that it would have been impossible to use the
            adjudication feature even if the software were somehow installed after the election.
            Far from a “staggering number” of ballots being adjudicated, the actual number
            was zero. Therefore, Mr. Ramsland’s theories are completely inapplicable to the
            incident in Antrim County.

            5.2   Claims Regarding Errors and Error Rates
            Mr. Ramsland claims that Antrim’s scanners exhibited a high rate of errors during
            ballot processing as a means of enabling systemic fraud (¶¶B.2, B.12). Some
            errors did occur during scanning, as I explained in Section 4, but they affected
            only specific contests in a small number of precincts, and there is no reason
            to believe they were intentional. However, Mr. Ramsland is largely referring to
            others kinds of errors that he believes occurred on the basis of his mistaken
            interpretations of the forensic evidence.
                For instance, the report repeatedly refers repeated to an error rate of 68.05%
           (¶¶B.6, B.8, J.1, J.3). Mr. Ramsland calculated this percentage from the scanner
            log for the November 6 rescan in Central Lake, which contains 15,676 lines, 10,667
            of which Mr. Ramsland classified as errors. “These errors resulted in overall
            tabulation errors or ballots being sent to adjudication,” he says, concluding that
           “[t]his high error rate proves the Dominion Voting System is flawed and does not
            meet state or federal election laws” (¶B.8).
                In actuality, the 68% figure is meaningless. Scanning a single ballot produces
            a variable number of lines in the log file—ranging from two to dozens—often
            including many benign warnings or errors. Many other entries and warnings
            are generated during pre-election testing or while starting or shutting down the
            machine. This means that the fraction of lines that are errors does not represent a
            fraction of ballots or votes, the entities for which an error rate would be relevant.
                Moreover, the errors in the log file do not mean what Mr. Ramsland purports
            them to. He claims that “[i]n Central Lake Township there were 1,222 ballots
           reversed out of 1,491 total ballots cast, resulting in an 81.96% rejection rate.
           All reversed ballots are sent to adjudication for a decision by election personnel”
           (¶B.10, emphasis in the original). This is referring to log entries like those in
            Figure 10 that say “Ballot has been reversed”. However, these entries have nothing
            to do with adjudication. They simply mean that the ballot has been returned to
            the voter; i.e., the paper feeding mechanism has been reversed, as when a vending
            machine returns a dollar bill that has been misfed. This is a common and benign
            occurrence. In my experience, it often takes multiple tries to feed a ballot into a
            scanner, particularly when using a secrecy sleeve like those provided in Michigan.


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            Figure 10: Central Lake Scanner Log Entries. This log excerpt from the
            Central Lake memory card shows several ballots being processed. The warning
            messages relate to benign instances where ballots did not feed into the scanner
            correctly and were ejected (“reversed”) for the voter to try again. This is analogous
            to a vending machine returning a dollar bill that was inserted incorrectly.


               By way of example, 11 of 26 lines in Figure 10 are classified by the scanner as
            warnings, which might result in an “error rate” of 42% by Mr. Ramsland’s methods.
            However, upon closer inspection, the log merely shows two instances where ballots
            were misfed and returned to the voter. Both times, ballots were successfully
            processed a few seconds later, so it is likely that the voters simply tried again.

            5.3   Claims Regarding Log Entries
            Mr. Ramsland makes several further mistakes in interpreting the election system
            logs. He states that the scanner log shows that “Divert Options” were selected
            and claims that this means “all write-in ballots were sent for ‘adjudication’ by
            a poll worker or election official to process the ballot based on voter ‘intent’.
            Adjudication files allow a computer operator to decide to whom to award those
            votes (or to trash them)” (¶J.4). In reality, the divert option simply means that
            when a voter has selected a write-in, the scanner directs the physical ballot into a
            separate compartment within the ballot box. This makes it more convenient for a
            worker to later read the name that was written in. All voter selections, including
            the presence of a write-in, are processed normally by the scanner and reflected
            on the poll tape. The setting has nothing to do with electronic adjudication.
                Mr. Ramsland also points to scanner log entries that show “Override Options”
            were enabled for several classes of ballots. He mistakenly claims that these
            settings “allow[] any operator to change those votes” (¶J.5). “This gives the
            system operators carte blanche to adjudicate ballots,” he further claims (¶J.6).
            In actuality, the “Override Options” refer to situations where the scanner warns


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            a voter that they may have made a mistake when marking their ballot, such as
            an overvote or undervote. If the override option is enabled, voters are allowed to
            acknowledge the warnings and cause the scanner to accept their ballots despite
            the error conditions. These settings have nothing to do with “overriding” voters’
            selections, and they do not mean the ballots will be sent to adjudication.
                Mr. Ramsland further claims that the scanner log shows that “RCV or Ranked
            Choice Voting Algorithm was enabled” which “allows the user to apply a weighted
            numerical value to candidates and change the overall result” (¶J.2). In reality,
            although some log entries reference the voting system’s RCV feature, they do not
            indicate that it was enabled. The EMS and memory card data data show that RCV
            was not in use, as do the results of the hand recount of the presidential contest.
                Mr. Ramsland claims that on “November 21, 2020, an unauthorized user
            unsuccessfully attempted to zero out election results” (¶B.17). The only evidence
            he offers for this assertion is an EMS log file entry that reads “EmsLogger - There
            is no permission to {0}”, which he claims “is direct proof of an attempt to tamper
            with evidence” (¶J.8). This is absurd and misleading. A programmer would
            immediately recognize that {0} is merely a placeholder, in this case one that was
            intended to be replaced with a description of the attempted action [26]. It has
            nothing to do with “zeroing” election results.
                Citing another error message logged to the EMS, “XmlException: The ’ ’
            character, hexadecimal value 0x20, cannot be included in a name”, Mr. Ramsland
            concludes, “Bottom line is that this is a calibration that rejects the vote” (¶J.8).
            This is completely baseless. The error refers to a field name in a data structure
            (an XML entity), which the relevant programming standard does not allow to
            contain a space. It has no relation to the names of contests or candidates, and
            there is nothing that suggests the error resulted in a rejected vote.


            5.4   Claims Regarding Software Updates

            Mr. Ramsland repeatedly mischaracterizes the updates to the scanner election
            definitions as “software updates” (¶¶B.9, B.18, D.14–17, E.1). Although some-
            times referred to as “ballot programming”, election definitions in the Dominion
            system are not software in the sense of a computer program but rather data
            files that specify the content and layout of the ballots. In normal operation,
            they do not change the scanner’s software, although they do affect its behavior.
            Mr. Ramsland is wrong when he describes Central Lake Township as scanning
            twice with “different software versions of the operating program to calculate, not
            tabulate votes” (¶D.16). The scanner used the same software both times, but it
            was configured using different election definition files.
                Elsewhere, Mr. Ramsland seems to confuse ballot definition changes with
            firmware updates, which do change the scanner’s software (¶D.17). Ballot defini-
            tions are necessarily changed before every election, but firmware updates are a
            relatively rare occurrence that typically requires re-certification of the software
            under U.S. Election Assistance Commission guidelines. There is no evidence that
            any firmware updates occurred during the 2020 election cycle in Antrim County.


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            5.5   Claims Regarding Central Lake and Mancelona Townships

            The report discusses the differences between the poll tapes from the two scans
            in Central Lake Township (¶¶D.1–19). It points to three down-ballot contests
            where there were large changes to the results: the Central Lake and Ellsworth
            school board races and State Proposal 20-1. I explained in Section 4 precisely
            how these changes resulted from revisions to the ballot design in Central Lake
            Village. No other contests were affected by those revisions.
                The report states that the Central Lake Township Clerk told the ASOG team
            that three ballots that were damaged were not included in the second scan (¶D.3).
            Elections staff transcribed them onto new ballots, but they were not reflected
            in the final numbers (¶D.5). As I explained in Section 4.6, the data indicate that
            three ballots were not included during the second scan. If those were the three
            damaged ballots, this supports the conclusion that the ballots were omitted due
            to human error by elections staff.
                The report also discusses Mancelona Township and states that there is no
            indication that logic and accuracy testing was performed there following the
            update to the election definition (¶E.2). This is incorrect. The scanner logs
            from the Mancelona Township memory cards clearly show that this testing was
            performed. Lines 1–855 of the log from Precinct 1 and lines 1–971 of the log from
            Precinct 2 indicate that testing was performed from approximately 2–3 p.m. on
            October 24, the day after the county received the updated election definition.
            During that time, each log shows 126 or 127 ballots being scanned, a poll tape
            being printed, and the card being reset for use by voters. I discussed when logic
            and accuracy testing was performed and its impact on the incident in Section 4.1.
                Mr. Ramsland claims that “the Help America Vote Act, Safe Harbor provides
            a 90-day period prior to elections where no changes can be made to election
            systems” (¶D.17), and he says that the use of the revised election definition in
            Mancelona Township violated this rule, calling it “an election de-certifying event”
            (¶E.1). In fact, no such rule exists. Moreover, it would not have been possible for
            Antrim to finalize any of its election definitions 90 days before the November 3
            election, since many candidates were not determined until after the results of the
            August 4 primary election were certified.


            5.6   Claims Regarding Venezuela

            Mr. Ramsland cites the work of Gustavo Delfino, who used statistical methods
            to investigate election fraud in Venezuela in the early 2000s. Although Mr.
            Ramsland writes that “[o]ur investigation into the error rates and results of the
            Antrim County voting tally reflect the same tacticts” (¶B.24), the relevance to
            Antrim is unclear. Venezuela uses completely different voting technology than
            Michigan, produced by a different company and based on touch-screen direct-
            recording electronic voting machines rather than hand-marked paper ballots. To
            my knowledge, neither Mr. Ramsland nor Mr. Delfino has performed any credible
            statistical analysis of the Antrim County results, let alone one that supports the
            conclusion that there was fraud.


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            5.7   Claims Regarding Security Problems

            Some of the ASOG report’s claims about security problems in Antrim County
            election equipment are correct or based in fact, but Mr. Ramsland draws several
            incorrect conclusions.
            Software Updates The report is correct that the EMS is missing important
           Windows security updates, potentially leaving it vulnerable to various methods
            of attack (¶I.2). The system is running Windows 10 version 1607, which was
            released in 2016, and it appears not to have had any updates installed for at
            least two years. The antivirus definitions are similarly out of date.
                This is a serious security problem. However, Mr. Ramsland is wrong that
           “[t]here is no way this election management system could have passed tests or have
            been legally certified” (¶B.16). In fact, missing software updates are frequently
            an unfortunate consequence of the federal certification process, under which
           voting system vendors must obtain EAC approval for any changes to election
            system software, including Windows updates [32]. If there are any security
            updates that have been approved for the Dominion system, Antrim County
            should promptly install them. However, installing unapproved updates, even for
            critical vulnerabilities, would potentially violate the system’s certification.
            Security Event Log The report is correct that the Windows security event log
            in the EMS image only contains entries extending back to November 4, 2020, the
            day after the election (¶B.16). However, the timing appears to be a coincidence.
            The system is configured so that the maximum size for this log file is 192 MB,
            and when it grows beyond this size, the oldest entries are automatically removed.
            Nevertheless, security logs are important sources for forensic investigation and
            should be retained for as long as they are potentially relevant. Having a fixed
            maximum size is contrary to best practice.
            Network Connectivity The report is correct that Dominion scanners have the
            ability to be connected to external networks (¶B.20). Some Michigan jurisdictions
            use this functionality to transmit preliminary results to their EMSes using
            wireless modems. Connecting scanners or EMSes to the Internet or other external
            networks creates significant risks. According to the Michigan Election Security
            Advisory Commission, “[i]t is possible that unofficial results could be intercepted
            or manipulated, that the locality’s election management system server could be
            attacked remotely over the network, or that optical scanners could themselves be
            remotely attacked” [25]. For these reasons, the Commission recommended that
            jurisdictions discontinue wireless result transmission.
                However, Antrim County did not purchase and does not use the Dominion
            wireless results transmission functionality. Instead, results are returned by physi-
            cally transporting the memory cards. Based on the EMS event log, it does not
            appear that the EMS has ever been connected to a network.
            Authentication and Access Control The report is correct that the authen-
            tication and access control mechanisms on the EMS have serious weaknesses.
            Antrim workers almost exclusively used a single Windows user account that had
            full administrative privileges over the computer (¶I.10). This account has the nec-


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            essary privileges to alter log files and bypass other security controls. For instance,
            anyone logged into this account has full access to the SQL server databases that
            run the election, with no additional authentication required (¶I.4). This database
            access can then be used to circumvent account passwords within the Democracy
            Suite applications (¶I.5), as I did to conduct my tests in Section 3.
                The report also states that the EMS hard disk was not encrypted (¶I.3). I
            was unable to find evidence in the disk image to confirm or refute this. If it is
            true, an attacker with physical access to the computer can bypass the Windows
            account passwords, install malicious software, and read or change data arbitrarily.
            Whether or not Antrim County maintains strong physical security for the EMS,
            disk encryption should be enabled to provide an additional layer of defense.
                These problems should be promptly mitigated. However, I am not aware
            of any credible evidence that any security problem was ever exploited against
            Antrim County’s election system. As my analysis shows, the anomalies that
            occurred in the November 2020 results are fully explained by human error.




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            6   Conclusion
            My investigation shows that the Antrim County incident was initiated by unusual
            circumstances that are unlikely to have widely affected other jurisdictions. After
            making last-minute revisions to certain ballot designs, workers made two key
            human errors that directly led to inaccurate results:
             – County staff failed to ensure that all ballot scanners used the revised election
               definition. This caused the EMS to misinterpret results from the scanners,
               leading to major election-night reporting errors (that are now fully corrected).
             – Township staff failed to ensure that all ballots used the revised ballot designs.
               Ballots that did not match the scanner configurations were misread, leading
               to smaller errors in specific down-ballot contests (that remain uncorrected).
            Antrim could have discovered these problems before incorrect results were pub-
            lished or deemed official, but several opportunities to do so were missed:
             – Townships failed to notice poll tape errors during pre-election testing.
             – Poll workers erased memory cards, making the reporting errors harder to spot.
             – County staff did not adequately investigate EMS errors on election night.
             – County staff failed to “sanity-check” the initial results before posting them.

            To their credit, the county and state quickly understood the technical cause of the
            major anomalies. However, during the process of correcting the original problems,
            further human errors occurred that led to additional inaccurate results:
             – County staff neglected to remove bad data before publishing updated results
               on November 5, again causing widespread reporting errors (later corrected).
             – County staff made data entry errors when manually inputting results, affecting
               more than 2% of reported votes across the county (now fully corrected).
             – County canvassers failed to ensure that all results matched the poll tapes, al-
               lowing data entry errors to affect some of the certified results (now corrected).
             – Three ballots may have been omitted when Central Lake re-scanned on Novem-
               ber 6, due to a separate human error. This possibly changed the outcome of the
               Central Lake Village Marihuana Retailer Initiative (and remains uncorrected).

            Some of these human errors would have been harmless individually, but their
            combined effects undermined safeguards that should have ensured accuracy. Their
            number speaks to the extreme pressures that election workers faced last year,
            in the midst of a global pandemic and a bitterly contested presidential contest.
                There is no credible evidence that the Dominion system was deliberately
            designed to induce errors, but there were missed opportunities for the software
            to do more to election staff avoid making mistakes:
             – When modifying the ballot designs, the software stated that old ballots and
               election definitions would be “unusable”. However, it failed to clearly warn
               that using them anyway could result in erroneous results.


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             – The EMS and scanners could have prevented or detected the use of incom-
               patible ballots and election definitions. They did not and gave no indication
               when incompatible ballots or election definitions were used.
                Several of the election procedures that broke down due to human error are
            important security protections. Furthermore, the EMS lacks important security
            updates, has weak authentication and access control mechanisms, and is vulnera-
            ble to compromise if an attacker has physical access to the computer. These are
            serious vulnerabilities that should be mitigated on a priority basis, but there is
            no evidence that any of these problems was ever exploited in Antrim County. My
            analysis has precisely accounted for all known anomalies in Antrim’s November
            2020 election results, and none was the product of a security breach.




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            7    Recommendations
            On the basis of my investigation, I offer the following recommendations to improve
            the administration of future elections:

             1. Michigan and other states should expand the use of risk-limiting audits (RLAs)
                so that they occur in all major contests. RLAs provide a last line of defense
                against error and fraud and provide an added basis for voter confidence.
             2. The Bureau of Elections should require counties to perform end-to-end pre-
                election testing, in which memory cards from L&A testing are loaded into
                the EMS and the results report is check for accuracy. Such testing would
                have detected the mismatched election definitions in Antrim County.
             3. The Bureau of Elections should revise L&A testing procedures to ensure that
                testing is repeated after any change to election definitions or ballot designs.
             4. The Bureau of Elections should revise county canvassing procedures and
                training to ensure that reported results in all contests are accurately compared
                to the results on scanner poll tapes and any discrepancies fully explained.
             5. States that do not require canvassers to compare results to poll tapes, as
                Michigan does, should introduce this form of validation, which provides an
                important safeguard against reporting errors.
             6. The Bureau of Elections should revise procedures and training to clarify what
                steps must be taken if absentee voters return ballots that use outdated designs.
             7. The Bureau of Elections should revise training materials to include discussion
                of lessons from the Antrim County incident, including the importance of
                reviewing results for obvious errors or omissions before making them public.
             8. Antrim County should provide additional training for county and township
                staff concerning the correct operation of the Dominion voting system, includ-
                ing proper procedures for operating the EMS and polling place equipment.
             9. Dominion should revise its documentation to more prominently warn that
                mismatched election definitions could lead to erroneous results.
            10. Other voting system vendors should review their equipment to determine
                whether reporting errors could potentially occur under similar circumstances.
            11. Dominion should enhance D-Suite to verify that the election definition on
                a memory card being loaded is compatible with the one used by the EMS.
            12. Dominion should revise documentation and training to emphasize that routine
                EMS tasks should not be performed from privileged user accounts.
            13. Dominion should ensure that customers receive and are instructed to apply
                all appropriate security updates affecting EMS software components.
            14. Dominion should advise customers to enable disk encryption on EMS systems
                and to increase the retention period of the Windows security event log.
            15. The Bureau of Elections should audit the physical security of county EMSes.
            16. The Bureau of Elections should require election technology, including EMSes,
                to promptly receive all appropriate security updates.


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            17. Counties that transmit scanner results over the Internet or using wireless
                modems should discontinue these practices, as recommended by the Michigan
                Election Security Advisory Commission [25].
            18. Jurisdictions should consider enabling the capability of their scanners to save
                ballot images. These could help resolve questions about the accuracy of results
                in future incidents, especially if the integrity of the paper trail is questioned.
            19. Jurisdictions should retain electronic election records, such as memory cards
                and EMS data, for as long as physical records. These provide important ev-
                idence for investigating (or disproving) problems later discovered or alleged.
            20. When future election incidents occur, even if they receive less public attention
                than the events in Antrim County, states should consider performing investi-
                gations like this one, to ensure that the problems are well understood and that
                any lessons are disseminated to help other jurisdictions avoid similar issues.




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            A    Qualifications

            My name is J. Alex Halderman. I am Professor of Computer Science and Engineer-
            ing, Director of the Center for Computer Security and Society, and Director of the
            Software Systems Laboratory at the University of Michigan in Ann Arbor. I hold
            a Ph.D. (2009), a master’s degree (2005), and a bachelor’s degree (2003), summa
            cum laude, in computer science, all from Princeton University. My background,
            qualifications, and professional affiliations are set forth in my curriculum vitae,
            which is available online at https://alexhalderman.com/home/halderman-cv.pdf.
                My research focuses on computer security and privacy, with an emphasis on
            problems that broadly impact society and public policy. Among my areas of
            research are software security, network security, computer forensics, and election
            cybersecurity. I have authored more than 90 articles and books, and my work
            has been cited in more than 11,000 scholarly publications. I have served as a
            peer-reviewer for more than 35 research conferences and workshops.
                I have published numerous peer-reviewed research papers analyzing security
            problems in electronic voting systems used in U.S. states and in other countries.
            I have also investigated methods for improving election security, such as efficient
            techniques for auditing whether computerized election results match paper ballots.
            I regularly teach courses in computer security, network security, and election
            cybersecurity at the graduate and undergraduate levels. I am the creator of
            Securing Digital Democracy, a massive, open, online course about computer
            security and elections that has attracted more than 20,000 students.
                I serve as co-chair of the State of Michigan’s Election Security Advisory
            Commission, by appointment of the Michigan Secretary of State. I have also
            performed security testing of electronic voting systems for the Secretary of State of
            California. I have testified before the U.S. Senate Select Committee on Intelligence
            and before the U.S. House Appropriations Subcommittee on Financial Service
            and General Government on the subject of cybersecurity and U.S. elections.
                I received the John Gideon Award for Election Integrity from the Election
            Verification Network, the Andrew Carnegie Fellowship, the Alfred P. Sloan
            Foundation Research Fellowship, the IRTF Applied Networking Research Prize,
            the Eric Aupperle Innovation Award, the University of Michigan College of
            Engineering 1938 E Award for teaching and scholarship, and the University of
            Michigan President’s Award for National and State Leadership.


            Affirmation

            I declare under penalty of the perjury laws of the State of Michigan and the
            United States that the foregoing is true and correct, and that this report was
            executed this 26th day of March, 2021.



                                                      J. Alex Halderman


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